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                   EXHIBIT 7
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      1          IN THE UNITED STATES DISTRICT COURT                                                    260
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                    1            (The proceedings in this matter commenced at
      2            RICHMOND DIVISION
      3    _________________                                        2    9:30 a.m.)
                                 :
      4     ePLUS, INC.,                :                           3            THE CLERK: Civil Action No. 3:09CV00620,
                                 :                                  4    ePlus, Incorporated v. Lawson Software, Incorporated.
      5               Plaintiff,    :
            v.                    : Civil Action                    5    Mr. Scott L. Robertson, Mr. Craig T. Merritt,
      6                          : No. 3:09CV620                    6    Ms. Jennifer Albert, Mr. Michael T. Strapp, and
           LAWSON SOFTWARE, INC.,                :
      7                          : January 5, 2011                  7    Mr. David Young represent the plaintiff.
                      Defendant.      :                             8            Mr. Daniel W. McDonald, Mr. Dabney J. Carr,
       8   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _:
       9                                                            9    IV, Ms. Kirstin Stoll-DeBell, and Mr. William D.
      10
                                                                    10   Schultz represent the department.
      11        COMPLETE TRANSCRIPT OF JURY TRIAL
                BEFORE THE HONORABLE ROBERT E. PAYNE                11           Are counsel ready to proceed?
      12       UNITED STATES DISTRICT JUDGE, AND A JURY
                                                                    12           MR. ROBERTSON: Yes, Your Honor.
      13
      14                                                            13           MR. McDONALD: Yes, Your Honor.
      15   APPEARANCES:
                                                                    14           THE COURT: All right. Good morning, ladies
      16   Scott L. Robertson, Esq.
           Jennifer A. Albert, Esq.                                 15   and gentlemen.
      17   Michael T. Strapp, Esq.
           David M. Young, Esq.                                     16           THE JURY: Good morning.
      18   GOODWIN PROCTOR                                          17           THE COURT: All right, Mr. Robertson, you may
           901 New York Avenue, NW
      19   Washington, D.C. 20001                                   18   resume your examination of the witness.
      20   Craig T. Merritt, Esq.                                   19           MR. ROBERTSON: Thank you, Your Honor.
           CHRISTIAN & BARTON
      21   909 E. Main Street, Suite 1200                           20           THE COURT: And I remind you, sir, you're
           Richmond, VA 23219-3095                                  21   under the same oath which you took yesterday.
      22
                Counsel for the plaintiff ePlus                     22           THE WITNESS: Yes, sir.
      23
                                                                    23   BY MR. ROBERTSON: (Continuing)
      24
                    DIANE J. DAFFRON, RPR                           24   Q MR. Momyer, we spent a good deal of time yesterday
      25            OFFICIAL COURT REPORTER
                                                                    25   discussing this RIMS system which you were named
                   UNITED STATES DISTRICT COURT



                                                              259                                                                         261

                                           259                      1    inventor along with Mr. Johnson. Do you recall that?
      1    APPEARANCES: (Continuing)                                2    A Yes, I do.
      2    Daniel W. McDonald, Esq.
                                                                    3    Q I'd like to move on now to this electronic
           Kirstin L. Stoll-DeBell, Esq.
      3    William D. Schultz, Esq.                                 4    sourcing system and method, the inventions that are
           MERCHANT & GOULD                                         5    subject of the patents that are at issue here if we
      4    3200 IDS Center
                                                                    6    could. All right?
           80 South Eighth Street
      5    Minneapolis, MN 55402-2215                               7    A Okay.
      6    Dabney J. Carr, IV, Esq.                                 8    Q Tab 1 in your witness notebook, I believe it's
           TROUTMAN SANDERS
                                                                    9    Plaintiff's Exhibit No. 1, if you could go to column
      7    Troutman Sanders Building
           1001 Haxall Point                                        10   1.
      8    P.O. Box 1122                                            11           THE COURT: That's also in your small book
           Richmond, VA 23218-1122
                                                                    12   there if you need to.
      9
                Counsel for the defendant Lawson Software.          13   Q And tab 2. Thank you.
      10                                                            14        So we're on column 1 now of the '683 patent,
      11
                                                                    15   Exhibit No. 1. Now, suggestion was made yesterday
      12
      13                                                            16   that the Patent Office was unaware of the RIMS patent.
      14                                                            17   Did you disclose the RIMS patent to the Patent Office?
      15
                                                                    18   A Yes, I believe so.
      16
      17                                                            19           MR. McDONALD: Objection, Your Honor. This
      18                                                            20   is going to the validity issue. Again, I thought we
      19
                                                                    21   were going to stick with infringement.
      20
      21                                                            22           THE COURT: Isn't it?
      22                                                            23           MR. ROBERTSON: No, Your Honor.
      23
                                                                    24           THE COURT: Why does it have to do with
      24
      25                                                            25   infringement?




    ePlus - Perfect Commerce (Lawson)                        Unsigned                                                           Page 258 - 261
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           Weaver - Direct                                 502                           Weaver - Direct                                 504
      1    and then wait for them to come back with bids, accept one, send          1    terms in their binders, in their book which I believe is at
      2    out a purchase order, and then see whether or not you got the            2    tab --
      3    equipment that you wanted. I know there was one time where I             3             THE COURT: Tab six.
      4    ordered equipment and never was available, so I didn't get what          4             MR. ROBERTSON: Thank you, Your Honor.
      5    I wanted.                                                                5    Q   Let me ask, in rendering the opinions you're going to give
      6    Q   Was this process time-consuming?                                     6    with respect to the infringement, did you apply the Court's
      7    A   Very.                                                                7    claim construction or some other claim construction?
      8    Q   Was it costly for you?                                               8    A   I used the Court's claim construction.
      9    A   Oh, yes. Costly in time and costly in personnel.                     9    Q   Did you attempt to faithfully use that claim construction
      10   Q   Was it efficient?                                                    10   when you were looking at the functionality and capability of
      11   A   No.                                                                  11   Lawson's software?
      12   Q   Can you tell us -- you've had an opportunity to read                 12   A   Yes, I did.
      13   through all the three patents-in-suit in some detail; is that            13   Q   Did you come up with any of your own constructions
      14   right?                                                                   14   contrary to the Court?
      15   A   I have.                                                              15   A   No.
      16   Q   You've studied the background of the invention?                      16   Q   So just back to the basic subject matter, at a high level
      17   A   I have.                                                              17   of these patents that were issued, what do you consider the
      18   Q   And the summary of the inventions?                                   18   benefits to be realized by the inventions over this procurement
      19   A   Yes.                                                                 19   process that you have described?
      20   Q   And you've looked at the description of the drawings?                20   A   Well, by computerizing the process, by making the catalogs
      21   A   Yes.                                                                 21   electronic, by being able to search them electronically, by
      22   Q   And you've read the detailed description of the invention            22   being able to create requisitions and purchase orders, you
      23   which is some 20 or so columns?                                          23   reduce the economic friction in an electronic commerce system.
      24   A   I have.                                                              24   You make it more efficient, you make it more time-conserving,
      25   Q   And you've read the claims that are involved in this case;           25   and you save money.




                                                                              503                                                                          505

           Weaver - Direct                                 503                           Weaver - Direct                                 505
      1    correct?                                                                 1    Q   How about the ability to search multiple vendors at the
      2    A   Correct.                                                             2    same time?
      3    Q   And understand that there are 12 representative claims               3    A   Oh, of course. Searching multiple catalogs gives you the
      4    that are at issue in the three patents that are Plaintiff's              4    ability to cross compare, to comparison shop.
      5    Exhibit Numbers 1, 2, and 3?                                             5    Q   What about the requisitioning and ordering module that
      6    A   I do.                                                                6    permits you to go -- to do multiple requisitions from items
      7    Q   So you reviewed the '683 patent, the '516 patent, and the            7    from multiple vendors and then issue multiple purchase orders?
      8    '172 patent; correct?                                                    8    Do you see any benefits to that?
      9    A   I have.                                                              9    A   If you go back to the example that I had where I had to
      10   Q   So do you feel you have an understanding, having worked              10   get requisitions issued to each vendor and then a purchase
      11   with these patents and been involved in these for the last six           11   order had to go individually to each vendor, that's a lot of
      12   years, with respect to the subject matter and what's disclosed           12   time and effort. So the ability to put everything you want on
      13   and what is claimed?                                                     13   one purchase requisition electronically and then have the
      14   A   I do.                                                                14   computer system break that requisition up into however many
      15   Q   Did you also have an opportunity to review the Court's               15   purchase orders are appropriate, typically one purchase order
      16   construction of certain claim terms that were in dispute among           16   per vendor with however many orders from the requisition,
      17   the parties?                                                             17   that's a real benefit.
      18   A   Yes.                                                                 18   Q   The patents also discuss ability to gain approvals for
      19   Q   And you received a copy of that?                                     19   requisitions in order to have the process flow go smoothly and
      20   A   Yes.                                                                 20   quickly and more efficiently?
      21   Q   Do you have -- you are holding a piece of paper in your              21   A   Yes, they do.
      22   hand. Is that the glossary of terms that has been -- is that             22   Q   Are there aspects of the inventions generally that relate
      23   the glossary of terms?                                                   23   to determining whether there's an item available in the
      24   A   Yes, it is.                                                          24   vendor's inventory?
      25   Q   Just so you are informed, the jurors have that glossary of           25   A   Oh, yes. We're going to see that in the patent claims.




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                                                                              506                                                                          508

           Weaver - Direct                                  506                          Weaver - Direct                                 508
      1    Q   That is an important aspect of the invention in your view?           1    to be offering in this case both on the issue of infringement
      2    A   Yes, it is.                                                          2    and on the issue of validity?
      3    Q   Dr. Weaver, in determining and preparing your expert                 3    A   Yes, I did.
      4    reports in this case, and in preparing the opinions that you're          4    Q   Did you have an opportunity to review who the hypothetical
      5    going to be offering, did you consider what a person of                  5    person of ordinary skill in the art would be under Lawson's
      6    ordinary skill in the art would be in the subject matter of              6    expert's perspective?
      7    these patents?                                                           7    A   Yes, and it's similar.
      8    A   Yes, I did.                                                          8           MR. ROBERTSON: Mr. McDonald, do you want to agree on
      9    Q   Why did you do that?                                                 9    that if we can at this point?
      10   A   Well, it's required that the patents be seen from the lens           10          MR. McDONALD: I thought we already did.
      11   of this hypothetical person of ordinary skill in the art.                11          MR. ROBERTSON: All right.
      12   That's a person who can read and understand the patents and              12          THE COURT: I thought you stipulated that, haven't
      13   implement whatever is there.                                             13   you?
      14   Q   Now, this person of ordinary skill in the art from which             14          The person of ordinary skill in the art, ladies and
      15   we have to view these patents at issue and the claims that               15   gentlemen, is something you'll hear from these experts, and
      16   we're going to be talking about, is this a real person or a              16   it's been explained what it is, and there'll be instructions
      17   hypothetical construct?                                                  17   for you later, but that person is a person, the parties
      18   A   It's a hypothetical construct.                                       18   agree -- excuse me -- who is a college graduate with a degree
      19   Q   And when you look at and try to determine who this person            19   in computer science or electrical engineering or like studies
      20   of ordinary skill in the art would be, what time frame were you          20   with a year or so of experience writing software and
      21   looking at?                                                              21   understanding -- and who understands the procurement process,
      22   A   Well, that has to be -- in the case of these patents, that           22   electronic procurement process; is that right, counsel?
      23   would have to be 1993 to 1994, during the period of the                  23          MS. STOLL-DeBELL: I think it's close enough, Your
      24   invention.                                                               24   Honor.
      25   Q   And is that when the patents were conceived and then                 25          THE COURT: Good enough for government work.




                                                                              507                                                                          509

           Weaver - Direct                                  507                          Weaver - Direct                                 509
      1    reduced to practice?                                                     1           MS. STOLL-DeBELL: I think so.
      2    A   Correct.                                                             2    Q   Let me ask you this: Are you familiar with that person of
      3    Q   And you are familiar that the filing date of this patent,            3    that level of skill and knowledge during the time period we're
      4    these patents has what's called a priority date back to 1994?            4    discussing?
      5    A   Yes.                                                                 5    A   Yes. I was teaching people like that.
      6    Q   Can you tell the jury what you understand that term to               6    Q   In the 1993 time frame?
      7    mean, a priority date?                                                   7    A   Right, 1993, 1994, yes.
      8    A   That means that the protection of the patents that we'll             8    Q   Did you work on any projects during that period for any
      9    talk about later, what the claims mean, goes back to that date,          9    companies in which the subject, type of subject matter of this
      10   the filing date.                                                         10   might involve persons who had similar experience and education?
      11   Q   So in undertaking your study of these patents to determine           11   A   Right. So I mentioned this research project. There was
      12   who this hypothetical person of ordinary skill in the art would          12   this company call Epcom that wanted to build an electronic
      13   be for purposes of viewing the context, the historical context           13   distributorship, and so they came to my research group, and the
      14   where these patents were, did you come to any conclusions?               14   person I hired to work on this was two years out of the
      15   A   I did.                                                               15   computer science bachelor's degree, and she and I worked on the
      16   Q   And can you tell us what your opinion is as to who this              16   design of this system whereby there was an electronic catalog,
      17   hypothetical person of ordinary skill in the art would be for            17   and a consumer using the internet could look at the catalog and
      18   these ePlus patents?                                                     18   could order from it and kind of a rudimentary inventory
      19   A   So based on my experience, this person would be a college            19   management.
      20   graduate with a degree in computer science or something                  20   Q   Why don't we go to Plaintiff's Exhibit Number 1.
      21   related, like electrical engineering, and would have a year or           21          THE COURT: Are you going to get into infringement
      22   two of practical experience with writing software and                    22   opinions now?
      23   understanding the flow of information that is necessary for the          23          MR. ROBERTSON: I'm going to get into a little bit
      24   purchase of goods and services.                                          24   more about high level overview, and then I'm going to start
      25   Q   And did you apply that person to the opinions you're going           25   looking at specific claims, Your Honor, within a few pages.




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                                    514
      1        (Court adjourned.)
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                                                              515                                                                         517

      1          IN THE UNITED STATES DISTRICT COURT                                                         517
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                    1            (The proceedings in this matter commenced at
      2            RICHMOND DIVISION
      3    _________________                                        2    9:20 a.m.)
                                 :
      4     ePLUS, INC.,                :                           3            THE CLERK: Civil Action No. 3:09CV00620,
                                 :                                  4    ePlus, Incorporated v. Lawson Software, Incorporated.
      5               Plaintiff,    :
            v.                    : Civil Action                    5    Mr. Scott L. Robertson, Mr. Craig T. Merritt,
      6                          : No. 3:09CV620                    6    Ms. Jennifer A. Albert, Mr. Michael T. Strapp, and Mr.
           LAWSON SOFTWARE, INC.,                :
      7                          : January 6, 2011                  7    David M. Young represent the plaintiff.
                      Defendant.      :                             8            Mr. Daniel W. McDaniel, Mr. Dabney J. Carr,
       8   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _:
       9                                                            9    IV, Ms. Kirstin L. Stoll-DeBell, and Mr. William D.
      10
                                                                    10   Schultz represent the defendant.
      11        COMPLETE TRANSCRIPT OF JURY TRIAL
                BEFORE THE HONORABLE ROBERT E. PAYNE                11           Are counsel ready to proceed?
      12       UNITED STATES DISTRICT JUDGE, AND A JURY
                                                                    12           MR. ROBERTSON: Yes, Your Honor.
      13
      14                                                            13           MR. McDONALD: Yes, Your Honor.
      15   APPEARANCES:
                                                                    14           THE COURT: All right. Thank you very much.
      16   Scott L. Robertson, Esq.
           Jennifer A. Albert, Esq.                                 15           I apologize for keeping you-all waiting this
      17   Michael T. Strapp, Esq.
           David M. Young, Esq.                                     16   morning. I had a mechanical malfunction that I needed
      18   GOODWIN PROCTOR                                          17   to attend to, and I'm not very mechanically oriented.
           901 New York Avenue, NW
      19   Washington, D.C. 20001                                   18           All right, Mr. Robertson.
      20   Craig T. Merritt, Esq.                                   19           Dr. Weaver, I remind you you're under the
           CHRISTIAN & BARTON
      21   909 E. Main Street, Suite 1200                           20   same oath which you took yesterday.
           Richmond, VA 23219-3095                                  21           THE WITNESS: Yes, Your Honor.
      22
                Counsel for the plaintiff ePlus                     22   BY MR. ROBERTSON: (Continuing)
      23
                                                                    23   Q Good morning, Dr. Weaver.
      24
                    DIANE J. DAFFRON, RPR                           24   A Good morning.
      25            OFFICIAL COURT REPORTER
                                                                    25   Q If we could have Plaintiff's Exhibit No. 1 back up
                   UNITED STATES DISTRICT COURT



                                                              516                                                                         518

                                           516                      1    on the screen again, the '683 patent, the cover page
      1    APPEARANCES: (Continuing)                                2    here.
      2    Daniel W. McDonald, Esq.
                                                                    3      Dr. Weaver, the jurors have seen this exhibit now
           Kirstin L. Stoll-DeBell, Esq.
      3    William D. Schultz, Esq.                                 4    several times and it's in their jury notebooks. This
           MERCHANT & GOULD                                         5    is at tab 2. Can you just tell us what is the title
      4    3200 IDS Center
                                                                    6    of the patent?
           80 South Eighth Street
      5    Minneapolis, MN 55402-2215                               7    A Electronic Sourcing System and Method.
      6    Dabney J. Carr, IV, Esq.                                 8    Q Has the Court defined the term "electronic
           TROUTMAN SANDERS
                                                                    9    sourcing system"?
      7    Troutman Sanders Building
           1001 Haxall Point                                        10   A Yes, it has.
      8    P.O. Box 1122                                            11   Q What's your understanding as to what that
           Richmond, VA 23218-1122
                                                                    12   construction is?
      9
                Counsel for the defendant Lawson Software.          13   A In the glossary of claim terms, the "electronic
      10                                                            14   sourcing system" has been defined by the Court to be
      11
                                                                    15   an electronic system for use by a prospective buyer to
      12
      13                                                            16   locate and find items to purchase from sources,
      14                                                            17   suppliers or vendors.
      15
                                                                    18   Q What is your understanding of what a source is,
      16
      17                                                            19   sir?
      18                                                            20   A A source would be a vendor or a manufacturer or a
      19
                                                                    21   distributor.
      20
      21                                                            22   Q In the Court's construction of the claim term
      22                                                            23   "catalog" or "product catalog," how does the Court
      23
                                                                    24   define what a vendor can be?
      24
      25                                                            25   A The vendor, in the Court's construction, a vendor




    ePlus - Perfect Commerce (Lawson)                        Unsigned                                                           Page 515 - 518
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      1    A We sure will.                                                 1          MR. McDONALD: Your Honor, I'm going to

      2    Q The next element of Claim Three, which is                     2    object to this question about this. This is a

      3    color-coded blue and has this means for building a              3    means-plus-function clause and he's asking him what it

      4    requisition using data relating to selected matching            4    means. It should be done in the context of the --

      5    items and their associated sources, what's your                 5          THE COURT: I was just looking at page 2 of

      6    understanding as to what a requisition is?                      6    the glossary. I think that's been defined over there.

      7    A The requisition is the formal list of items that              7          MR. ROBERTSON: I was just going to ask him

      8    you wish to purchase.                                           8    to go to that page.

      9    Q Moving on to the next element of Claim Three,                 9          THE COURT: Don't be having him give his own

      10   which is yellow in your illustration. It says, A                10   constructions, please, before you ask him to go to the

      11   means for processing the requisition to generate one            11   ones that have been construed.

      12   or more purchase orders for the selected matching               12   BY MR. ROBERTSON:

      13   items. You mention the term "purchase order" when you           13   Q If you go to page 2 of the Court's glossary, Dr.

      14   were discussing requisitions. How does a purchase               14   Weaver.

      15   order differ from a requisition?                                15   A Yes.

      16   A The requisition is the list of things you want. A             16   Q What's the function that's being defined here on

      17   purchase order is the contract vehicle for buying. So           17   the means for converting data for this claim element?

      18   when I have a purchase order and I send it to a                 18   A The function of this element is converting data

      19   company, this is the legal document that says I want            19   related to a selected matching item and an associated

      20   to buy the item or items on this purchase order.                20   source.

      21     Requisition is your total list of things you'd                21   Q According to the Court, how can this function be

      22   like to buy. Purchase orders go to individual                   22   accomplished? By what structure?

      23   companies.                                                      23   A The corresponding structures, materials or acts of

      24   Q When you're providing your understanding of the               24   this element are disclosed as one or more non-catalog

      25   definitions and the meanings of these terms, is that            25   databases identifying cross-referenced items,




                                                                     560                                                                        562

      1    the same understanding as a person of ordinary skill            1    identical items, or generally equivalent items; one or

      2    in the art at the time?                                         2    more cross-reference tables or file identifying

      3    A Yes.                                                          3    cross-referenced items, identical items, or generally

      4    Q So how would the fifth element of Claim Three be              4    equivalent items; one or more codes corresponding to

      5    satisfied?                                                      5    cross-referenced items, identical items or generally

      6    A We would have to see a requisition module that can            6    equivalent items; and their equivalents.

      7    take the formal requisition, which could have many              7    Q In that definition there are non-catalog databases

      8    items from many vendors, and then turn that into one            8    identifying cross-referenced items, identical items or

      9    or more purchase orders. And, typically, you have all           9    generally equivalent items, cross-reference tables or

      10   the items from one vendor on one purchase order if you          10   files and one or more codes.

      11   can do it. If they are present.                                 11     As a computer scientist, can you tell us what your

      12   Q Moving on to the sixth and last element of Claim              12   understanding as a person of ordinary skill in the art

      13   Three, which you have color-coded brown. That element           13   would understand those three terms to mean?

      14   recites means for converting data relating to a                 14   A Sure. So a non-catalog database is a file that is

      15   selected matching item and an associated source to              15   not part of the physical structure of the database

      16   data relating to an item and a different source. How            16   system. So it's an external file.

      17   are we to understand that claim element?                        17     In this context, it's identifying the

      18   A So if I have a list of items and for some                     18   cross-referenced items. So, for instance, we might

      19   reason -- let's say I want to do comparison shopping            19   have a vendor -- think of a file that has records.

      20   or say that the item that I want, I've checked the              20   Think of that as a row in a table. We might have one

      21   inventory, and it's not available. So there has to be           21   vendor's part number and a second vendor's part number

      22   a converting means whereby I can look for similar               22   in that row. And if this is in a cross-reference

      23   items, and this is all computer assisted. I can find            23   index that indicates in this context that those two

      24   similar items that I might choose instead of the one            24   part numbers are identical or generally equivalent --

      25   that I had initially inquired about.                            25   let's see. What was the next one? Okay.




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                                                                   567                                                                           569

      1    A Yeah, okay. So the catalog database is the                  1    delete to it. So in computer terminology, we call

      2    electronic form of the catalogs all put together so           2    this a cache, a C-A-C-H-E. So it's a data structure

      3    that they can be searched. That is the catalog                3    that holds data, and then it's going to be transferred

      4    database.                                                     4    to the requisition module, and it's in the requisition

      5    Q Does the Lawson procurement system include a                5    module that the requisition is created.

      6    database in its inventory control module?                     6    Q All right. Thank you for that correction. So is

      7    A Yes, it does.                                               7    it consistent with an order list?

      8    Q Can supplier product catalog be loaded into that            8    A The order list is the shopping cart and that's

      9    control module?                                               9    what becomes the requisition.

      10   A Yes, we'll see that.                                        10   Q Did the Court define what an order list is in its

      11   Q What's the selection icon?                                  11   glossary of claim terms?

      12   A Of all the catalogs that are in the database, the           12   A Yes. A list of desired catalog items.

      13   user interface provides a way to select one or more           13   Q Did you apply that construction in doing your

      14   that are going to be searched.                                14   infringement analysis?

      15   Q Now, you have all of these modules I see here               15   A Absolutely.

      16   within a gray box. What are you trying to illustrate          16   Q Next you have an icon for generating purchase

      17   there?                                                        17   orders. Do you see that as part of the overview of

      18   A The gray box is the Lawson system.                          18   the Lawson procurement system?

      19   Q And these are the various components?                       19   A Yes.

      20   A These are components, modules.                              20   Q Can you explain that process here?

      21   Q There's an icon there for searching for matching            21   A So we've got our requisition. This is our formal

      22   items. Do you see that?                                       22   list of the things we want to buy. It might have one

      23   A Yes.                                                        23   item. It might have a hundred items. The items might

      24   Q What did you intend to illustrate there?                    24   be from one vendor or they might be from 100 vendors.

      25   A Using the user interface, one engages a search              25   Whatever that requisition says, the purchase order




                                                                   568                                                                           570

      1    program and gives it a search query or initiates a            1    module takes that requisition and typically pulls out

      2    search using a characteristic of a drop down menu.            2    all of the requisition items that are going to be

      3    And the search engine then engages and returns items          3    ordered from a single vendor and creates a purchase

      4    that match the query.                                         4    order for that vendor. Then it pulls all the items

      5    Q Did you examine a Lawson software program that              5    that go to another vendor and creates a separate

      6    permits a user of a Lawson system to perform that             6    purchase order for the second vendor and so on until

      7    functionality?                                                7    all the items in the requisition have appeared in some

      8    A Yes, the requisitioning system does that.                   8    purchase order.

      9    Q You have building a requisition icon here. Do you           9    Q Did you do analysis of any Lawson software program

      10   see that?                                                     10   or module that performs that functionality?

      11   A Yes.                                                        11   A Yes, we're going to see that, and it's going to be

      12   Q Please explain what you're intending to illustrate          12   the Lawson P.O. 100 program. Their purchase order

      13   there?                                                        13   program that converts a requisition into one or more

      14   A So in the Lawson system you build a shopping cart,          14   purchase orders.

      15   then you add and delete items from it until you're            15   Q Now, you've illustrated a number of arrows between

      16   satisfied with it. And then you do a checkout from            16   these various software programs or modules that you've

      17   the Lawson system. And that engages the requisition           17   identified as part of the overall Lawson infringing

      18   system and builds the requisition of all the items            18   system. What are you intending to indicate by those

      19   that you want to order.                                       19   arrows?

      20   Q Are you familiar with the term "a shopping cart"?           20   A Well, the arrows with the single head indicate

      21   A Yes.                                                        21   unit directional information flow. The arrows that

      22   Q Is that consistent with your understanding of               22   are double-headed indicate bidirectional data flow

      23   building a requisition?                                       23   back and forth.

      24   A Well, it's not the requisition. It's the data               24     So, for instance, the arrow here between selection

      25   structure that can be modified. You can add and               25   and searching, you use that user interface to engage




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      1    or items in the item master?                                             1    A   So we've talked about these at a high level. It's really

      2           THE COURT REPORTER: I'm sorry, could you say that                 2    time now to define them. So in these first two paragraphs of

      3    again, please.                                                           3    this document, Lawson has incorporated the usage of UNSPSC

      4           THE COURT: I agree. Thank you.                                    4    codes which is a standardized way of categorizing items that

      5    Q   Is a vendor associated with the item data for items in the           5    people use in commerce.

      6    item master?                                                             6        The UNSPSC codes were developed by the United Nations in

      7    A   It is. The item number in the item master file serves as             7    association with Dunn & Bradstreet. The codes have four

      8    a link to an entry in the vendor item table that identifies the          8    levels: Segment, family, class, and commodity. These levels

      9    vendor. So once you have the item number, you have a link to             9    create an item hierarchy and allows the user to search, for

      10   the description in the item master, all the fields that                  10   each level, for items in the item master file.

      11   describe the item, and that link also gets you the name of the           11   Q    So there's an example here of this segment, family, class,

      12   vendor and the vendor price agreement data out of the vendor             12   and commodity and a description using that. Can you tell us

      13   item table.                                                              13   then, so how do you employ these four levels to identify a

      14          THE COURT: Is the item master and the vendor item                 14   specific item?

      15   table, in your view, the only aspect of the Lawson systems that          15   A   Sure. So in this UNSPSC classification code, the four

      16   are accused that meets the definition of catalog?                        16   levels, segment, family, class, and commodity, are each

      17          THE WITNESS: Yes, Your Honor.                                     17   represented by a two-digit number. So for the segment, for

      18          THE COURT: All right.                                             18   example, the encodings could be 00 through 99. Each of those,

      19   Q   So together, the item master with the data that you                  19   or most of those anyway, have been predefined to be a market

      20   identified along with this vendor item table that identifies             20   segment, segment meaning a large grouping of items, products,

      21   the vendor together, it's your view that that constitutes a              21   and services.

      22   catalog under the Court's construction?                                  22       If the encoding is 44, then you can see from the table

      23   A   That's correct.                                                      23   that's the general segment of office equipment. So if you did

      24   Q   We also have this Punchout procurement system; correct?              24   a search for 44000000, you would be looking at items in office

      25   A   We do.                                                               25   equipment.




                                                                              616                                                                          618

      1    Q   And you indicated there's this specialized website that              1        Now, that's a lot of items. So it's hierarchical. If you

      2    Lawson works with its Punchout partners to create such that              2    add the family designation, two digits there, 00 to 99, you

      3    users of the Lawson system that have the Punchout procurement            3    narrow it down. So if the code is 4410, you've narrowed it

      4    module can go out to these special websites and purchase items;          4    from office equipment to office machines. If the code is 4411,

      5    is that right?                                                           5    you've narrowed it within office equipment down to computer

      6    A   Yes.                                                                 6    supplies.

      7    Q   Do you have an opinion as to whether the catalog data                7        So now let's take the example 4412 under office equipment.

      8    available at these Punchout partners that Lawson utilizes also           8    We're now narrowing it to office supplies, but we can become

      9    meets the definition of the Court's claim term catalog?                  9    more specific by adding more digits. So if I add the two-digit

      10   A   I believe they do, yes.                                              10   class, if I added 15, then I'm talking about the type of office

      11   Q   We'll be coming back to that; is that right?                         11   supplies that are mailing supplies; if the code is 16, writing

      12   A   I'm sure we will.                                                    12   implements. So if my code so far is 441216, I'm talking about

      13          THE COURT: Then your opinion of what in the Lawson                13   writing implements.

      14   system infringes is not confined only to -- excuse me. Your              14       If I go down to the commodity level, the full eight

      15   opinion of what in the Lawson system meets the Court's                   15   digits, I get to a finer-grained description of items. So if

      16   definition of catalog is not confined to the item master plus            16   that commodity code is 01, it's mechanical pencils, 02 is black

      17   the vendor item table?                                                   17   stylus pens, 03 is black pens. So if I wanted to search for

      18          THE WITNESS: You are correct, Your Honor. The item                18   black pens, I could put in the code 44121603, and what I would

      19   master and vendor item table would be an instance of a catalog           19   get back is a listing of all of the black pens in the item

      20   within the Lawson system. These Punchout catalogs are                    20   master database from all the vendors that have put item data

      21   external. They are an additional instance of catalogs.                   21   there.

      22   Q   Okay. Why don't we go then to page 46 of Plaintiff's                 22   Q    Now --

      23   Exhibit 112, and there's a heading there that says, what are             23            THE COURT: Put item data where?

      24   UNSPSC codes. You referenced those several times, so why don't           24            THE WITNESS: That using vendor catalog load program

      25   we see what Lawson has to say with respect to these codes.               25   provided by Lawson, catalog items from the vendor has been put




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       1         MR. ROBERTSON: I don't know who he's going

       2   to question about it.

       3         THE COURT: I'm sure he's going to question

       4   Dr. Weaver based on what he said. Not because I'm

       5   prescient or anything.

       6         MR. ROBERTSON: I guess I don't have an

       7   objection to that.

       8         THE COURT: Well, good then. We solved

       9   something.

      10         Raise the blinds so that in the morning it

      11   will be open.

      12         All right. I think that's everything. And

      13   you don't expect to finish tomorrow, is that right,

      14   Mr. Robertson? You don't expect to finish tomorrow,

      15   is that what your situation is?

      16         MR. ROBERTSON: I do not, sir. I expect Mr.

      17   McDonald might have a half an hour or 45 minutes of

      18   cross-examination.

      19         THE COURT: If you ask your questions bullet

      20   points, 30 minutes is plenty. Once you get beyond

      21   that, the expert bets you is generally what happens.

      22         All right. Okay. So we're not going on

      23   Monday. You're going back on Tuesday. Thank you very

      24   much. Hope you feel better, all of you. Don't bring

      25   anything else up here.




                                                                   740

       1

       2         (The proceedings were adjourned at 5:15 p.m.)

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       1         IN THE UNITED STATES DISTRICT COURT                                                                                  1190
       2         FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                        1                 PROCEEDINGS
       3              RICHMOND DIVISION
       4                                                                                2
       5   --------------------------------------
                                                                                        3             THE CLERK: Civil action number 3:09CV00620, ePlus,
                                           :
       6    ePLUS, INC.                           : Civil Action No.                    4    Incorporated, versus Lawson Software, Incorporated. Mr. Scott
                                           : 3:09CV620                                  5    L. Robertson, Mr. Craig T. Merritt, Ms. Jennifer A. Albert, Mr.
       7    vs.                              :
                                           :                                            6    Michael G. Strapp represent the plaintiff.
       8    LAWSON SOFTWARE, INC.                           : January 12, 2011          7             Mr. Daniel W. McDonald, Mr. Dabney J. Carr, IV, Ms.
                                           :
       9   --------------------------------------                                       8    Kirstin L. Stoll-DeBell, and Mr. William D. Schultz represent
      10                                                                                9    the defendant. Are counsel ready to proceed?
      11          COMPLETE TRANSCRIPT OF THE JURY TRIAL
                                                                                        10            MR. ROBERTSON: Plaintiff is, Your Honor.
      12           BEFORE THE HONORABLE ROBERT E. PAYNE
      13          UNITED STATES DISTRICT JUDGE, AND A JURY                              11            MR. McDONALD: Yes, Your Honor.
      14
                                                                                        12            THE COURT: All right. You said you wanted to see me
           APPEARANCES:
      15                                                                                13   before the jury comes in.
           Scott L. Robertson, Esquire
                                                                                        14            MR. McDONALD: Yeah, there's basically three issues
      16   Michael G. Strapp, Esquire
           Jennifer A. Albert, Esquire                                                  15   we wanted to raise.
      17   David M. Young, Esquire                                                      16            THE COURT: The court reporters always can hear
           Goodwin Procter, LLP
      18   901 New York Avenue NW                                                       17   better if you come to the lectern.
           Suite 900                                                                    18            MR. McDONALD: There's basically three issues that we
      19   Washington, D.C. 20001
      20   Craig T. Merritt, Esquire                                                    19   wanted to raise this morning. One is our third witness in our
           Christian & Barton, LLP                                                      20   case that we start today is Ms. Raleigh.
      21   909 East Main Street
           Suite 1200                                                                   21            THE COURT: Third witness in what?
      22   Richmond, Virginia 23219-3095                                                22            MR. McDONALD: In our case when we start presenting
           Counsel for the plaintiff
                                                                                        23   our case today. We have Mr. Richard Lawson first, Mr.
      23
      24               Peppy Peterson, RPR                                              24   Christopherson second, and then Hannah Raleigh was supposed to
                     Official Court Reporter
                                                                                        25   come back and be third today.
      25            United States District Court



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       1   APPEARANCES: (cont'g)                                                        1             She was supposed to be back last night from New York,
       2   Dabney J. Carr, IV, Esquire
                                                                                        2    and New York is getting hammered real bad by this blizzard.
           Troutman Sanders, LLP
                                                                                        3    She's trying to get another flight, but her flight is not going
       3   Troutman Sanders Building
           1001 Haxall Point                                                            4    to get her here until after the trial day is over today. So

       4   Richmond, Virginia 23219                                                     5    we've been trying to work something out with ePlus about what
       5   Daniel W. McDonald, Esquire                                                  6    we would do next because we haven't disclosed any exhibits or
           Kirstin L. Stoll-DeBell, Esquire
                                                                                        7    anything for the next witness.
       6   William D. Schultz, Esquire
                                                                                        8             THE COURT: Just call the next witness, the expert or
           Merchant & Gould, PC
       7   80 South Eighth Street                                                       9    whoever you've got here. There's no magic to the order of

           Suite 3200                                                                   10   putting people on.
       8   Minneapolis, Minnesota 55402                                                 11            MR. McDONALD: The next witness we would have
       9
                                                                                        12   actually here is Mr. Lohkamp, calling him back.
      10
                                                                                        13            THE COURT: Good.
      11
      12                                                                                14            MR. McDONALD: That's fine. They haven't had a

      13                                                                                15   chance to get ready for their cross-examination.
      14                                                                                16            THE COURT: They'll be ready. They knew basically
      15                                                                                17   what you were going to do anyway. They're not going to do it
      16
                                                                                        18   on your cross-examination; they were going to do redirect, so
      17
                                                                                        19   we're going to reverse things.
      18
      19                                                                                20            MR. McDONALD: We do have a deposition of Ms.
      20                                                                                21   O'Loughlin on the RIMS prior art issue that we can move up in
      21                                                                                22   the order.
      22
                                                                                        23            THE COURT: Is that carefully edited to eliminate the
      23
                                                                                        24   trash?
      24
      25                                                                                25            MR. McDONALD: That's being worked on as we speak,




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       1   back to me with "published" first meaning, to issue             1    think generally known was in several of the

       2   (printed or otherwise reproduced textual or graphic             2    dictionaries that you indicated. I think that's more

       3   material) for sale, and (2) to make publicly or                 3    appropriate.

       4   generally known. Those are the first two. And then              4          Remember, "published" still has to be read in

       5   there's a third one, to issue newspapers, books, etc            5    context of the patent, and we're talking about

       6   and then fourth is to have one's work published.                6    electronic data here. So when you take electronic

       7         And that's very typical of these other                    7    data, and you put it in a vendor catalog database,

       8   definitions.                                                    8    you're not making something publicly known, you're

       9         THE COURT: American Heritage, 4th edition,                9    just taking that data that has been made generally

      10   says, No. 1, To prepare an issue (printed material).            10   known or disclosed by the vendor, and then you're

      11   For public distribution or sale. (2) To bring to the            11   loading it into the database.

      12   public attention, announce.                                     12         Now, who does that loading or how it's

      13         The Merriam Webster New Edition says, "To                 13   modified in any way is not relevant to "generally

      14   make generally known, announce publicly." Second one,           14   known" or "disclose."

      15   "To produce or release literature, information,                 15         Publicly now would suddenly become another

      16   musical scores or sometimes recordings or art for sale          16   non-infringement gotcha that we've been talking about.

      17   to the public."                                                 17         THE COURT: Well, go ahead, Mr. McDonald.

      18         The Pocket Oxford American Dictionary, did                18         MR. McDONALD: Okay.

      19   y'all bring these with you or did you stimulate                 19         THE COURT: Anything else?

      20   business --                                                     20         MR. McDONALD: Your Honor, just to be clear

      21         MR. McDONALD: This was stimulated in                      21   as well, speaking of gotchas, as Mr. Robertson said,

      22   Richmond, Virginia, local economy, Your Honor.                  22   basically, he's the one that's trying to turn this

      23         THE COURT: The first one is "Prepare and                  23   into a gotcha. I'm fine going to the jury on a fair

      24   issue a book, newspaper, piece of music for public              24   and ordinary meaning. He's the one who is trying to

      25   sale, print something." (2) "Print something in a               25   say, "I can't even present evidence anymore on these




                                                                    1469                                                                         1471

       1   book, newspaper or journal as to make it generally              1    issues of how the accused database, the item master,

       2   known." (3) "Formally announce to read an edict or a            2    came into being."

       3   marriage ban."                                                  3          These are clearly facts that are relevant

       4         MR. McDONALD: That last one, I don't think                4    here. What if the vendor was the one who had selected

       5   we're using that last one about marriage.                       5    the desired items and added the information and

       6         THE COURT: I don't think that works, but                  6    deleted the items and modified? Obviously, that would

       7   basically I think the way I've defined "published"              7    be relevant. So the fact that somebody else does it

       8   catches these, doesn't it?                                      8    is also relevant to the converse.

       9         MR. McDONALD: The problem I have, Your                    9          And so he's the one that's trying to do the

      10   Honor, that I don't think it does is when you've got            10   gotcha here and preclude us from even being able to

      11   to make generally known, I think that should be                 11   present our case to the jury here by saying none of

      12   publicly to be consistent with these as well as Dr.             12   this evidence that Lawson wants to present is even

      13   Weaver and the experts. So I would change the word              13   relevant here. That's where the gotcha is coming in.

      14   "generally" to "publicly." And then we've got that              14   So Mr. Robertson is the one who keeps saying we

      15   phrase "or to disclose," which doesn't have any sort            15   shouldn't use these claim constructions --

      16   of a public or sale related aspect to it.                       16         THE COURT: Why should this come in into

      17         So I would say that should be eliminated                  17   evidence? You want to argue that it's not a catalog

      18   entirely from it. I think it's very accurate to say             18   because the customer of Lawson in the instance where

      19   "published" simply means to make publicly known.                19   it's using a legacy system, for example, has pulled

      20         THE COURT: I'll take those dictionaries, and              20   from a bunch of catalogs things that it put together,

      21   I'll give you back yours, but I'll just take all of             21   and you flipped it into the system when you into the

      22   them and look at them and frame something. I think              22   Lawson system. And somehow that information doesn't

      23   "disclosed" needs to be in there, but I'm not sure.             23   constitute information that's published by a vendor

      24         MR. ROBERTSON: Your Honor, may I address                  24   merely because it's gone through a relocation.

      25   this "publicly" now a new term has been injected? I             25         And that's not what the claim construction




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       1   says. And that's not a fair reading of the patent.              1    inconsistent --

       2   So maybe he's right that none of this comes in, that            2          THE COURT: Everything that your customers

       3   to the extent it is relevant, it's only marginally              3    look for is something that a vendor sells because what

       4   relevant, and it's too confusing to the jury to have            4    happens is when they use your system, your customer

       5   to sort through all of this who put the material into           5    goes to buy it from the vendor who is selling it to

       6   the system, the structure that you all have                     6    them, and a requisition is made, a purchase order is

       7   constructed, that is the Lawson system.                         7    made, and it goes to the vendor, and that's a typical

       8         MR. McDONALD: But we're talking about the                 8    sale, isn't it? It's a sale purchase. That's what it

       9   item master as being the thing that's being accused as          9    is.

      10   being multiple catalogs, Your Honor, and I think as a           10         MR. McDONALD: The point is what's a catalog

      11   fact matter, we should be able to show that doesn't             11   and what's not. That's what I'm talking about, and

      12   satisfy this definition. The definition starts off by           12   the shopping list is not a catalog. If I come up with

      13   talking about an organized collection. That's the               13   a list of requisition items that I want to buy, that's

      14   noun here. And then it goes on to say that's why it             14   not a catalog. That's not how these patents use that.

      15   has to be published by a vendor. And that's very                15   They call them requisitions. They call them purchase

      16   consistent with the patent. Any other way is                    16   orders. They call them something different from a

      17   inconsistent.                                                   17   catalog. And that's my concern that if we go too far

      18         THE COURT: I'm going to tell you now that                 18   on reconstruing the construction, that it's going to

      19   you're not free to argue simply that -- you just                19   lead the jury to --

      20   argued that the only thing that's covered by the claim          20         THE COURT: You reconstruing the

      21   construction is a Sears catalog that is put into the            21   construction, I think. So anyway I think what I'm

      22   system. And if that's what your theory is, you lose.            22   going to do is instruct the jury. And the question

      23   And I'm going to find that you lose as a matter of law          23   then is: On what the ordinary meaning is, do you know

      24   because that isn't what it's all about.                         24   of any case that says the Court can't instruct them on

      25         And I think if that's what you're trying to               25   what the ordinary meaning is?




                                                                    1473                                                                        1475

       1   do, then I think the answer is that Rule 403 keeps              1          MR. McDONALD: I'm not sure. We'll have to

       2   that whole line of evidence out. If that's what                 2    look for that, Your Honor. I'm not an aware of any

       3   you're thinking, forget it, because it ain't going to           3    case at this point.

       4   happen. If you argue that in front of the jury, I'm             4          THE COURT: I don't know why it wouldn't be

       5   going to tell the jury that that isn't permissible and          5    appropriate if there's a dispute about it. And you're

       6   I'll sustain a motion to strike it because it never             6    offering Defendant's 371. I assume you did it in good

       7   was intended to do that.                                        7    faith believing that it was appropriate to do that.

       8         We may not have done the best job of claim                8    So I think I'm going to give it. I'm going to look at

       9   construction here. I don't know. But in any event,              9    these definitions, if you don't mind loaning me your

      10   whatever is going to happen is that we're not going to          10   books for the evening.

      11   convert this into something that it wasn't and is not           11         Now, the real issue is: Can you ask these

      12   reasonably intended.                                            12   questions? Why is it that this approach as shown in

      13         MR. McDONALD: You have that Markman                       13   item information changes, which I think Mr. Robertson

      14   transcript, and if you take a look at that, you'll see          14   just read into the record in its entirety in the first

      15   that I was definitely talking about the issue that we           15   three blocks, I don't know that you read the last

      16   have to have a definition that's consistent with the            16   three -- the last block. It says, "Customer loads new

      17   patent and consistent with the ordinary meaning of              17   info into Lawson database." And then it goes to item

      18   catalog that will exclude something like a shopping             18   location, item master, and vendor item. I think

      19   list or a list of products somebody buys instead of             19   that's now the whole thing is in the record.

      20   something somebody sells. That was all on the table             20         But what difference does it make about

      21   at the Markman.                                                 21   whether the vendor changes the information to the new

      22         And if we go too far the other way with the               22   electronic format?

      23   definition, Your Honor, I think we start grabbing               23         MR. McDONALD: Because we're showing the

      24   things within the catalog definition that would not be          24   distance between when this thing actually was anything

      25   considered within the ordinary meaning. It would be             25   that even resembles a catalog at the vendor end and




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       1         IN THE UNITED STATES DISTRICT COURT                                                                                1492
       2         FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                        1              PROCEEDINGS
       3              RICHMOND DIVISION
       4                                                                                2
       5   --------------------------------------
                                                                                        3          THE CLERK: Civil action number 3:09CV620, ePlus,
                                           :
       6    ePLUS, INC.                           : Civil Action No.                    4    Incorporated, versus Lawson Software, Incorporated. Mr. Scott
                                           : 3:09CV620                                  5    L. Robertson, Mr. Craig T. Merritt, Ms. Jennifer A. Albert, and
       7    vs.                              :
                                           :                                            6    Mr. Michael G. Strapp represent the plaintiff.
       8    LAWSON SOFTWARE, INC.                           : January 13, 2011          7          Mr. Daniel W. McDonald, Mr. Dabney J. Carr, IV, Ms.
                                           :
       9   --------------------------------------                                       8    Kirstin L. Stoll-DeBell, and Mr. William D. Schultz represent
      10                                                                                9    the defendant. Are counsel ready to proceed?
      11          COMPLETE TRANSCRIPT OF THE JURY TRIAL
                                                                                        10         MR. ROBERTSON: Plaintiff is, Your Honor. Thank you.
      12           BEFORE THE HONORABLE ROBERT E. PAYNE
      13          UNITED STATES DISTRICT JUDGE, AND A JURY                              11         MR. McDONALD: Yes, Your Honor. Thank you.
      14
                                                                                        12         THE COURT: Do you need to see me about something
           APPEARANCES:
      15                                                                                13   before the jury comes in?
           Scott L. Robertson, Esquire
                                                                                        14         MR. ROBERTSON: Yes, Your Honor. You had asked us to
      16   Michael G. Strapp, Esquire
           Jennifer A. Albert, Esquire                                                  15   take a look at those appendices with respect to our motion on
      17   David M. Young, Esquire                                                      16   this implementation on a customer-by-customer basis.
           Goodwin Procter, LLP
      18   901 New York Avenue NW                                                       17         THE COURT: Yeah.
           Suite 900                                                                    18         MR. ROBERTSON: We have done that, and the reason I
      19   Washington, D.C. 20001
      20   Craig T. Merritt, Esquire                                                    19   raised it, Your Honor, is one of the witnesses that's going to
           Christian & Barton, LLP                                                      20   be called this morning is Ms. Hannah Raleigh. You may recall
      21   909 East Main Street
           Suite 1200                                                                   21   she testified once already. She is involved with Lawson
      22   Richmond, Virginia 23219-3095                                                22   Professional Services that has to do -- that has responsibility
           Counsel for the plaintiff
                                                                                        23   for implementation of the Lawson software products, and we're
      23
      24               Peppy Peterson, RPR                                              24   concerned that she's going to be getting into areas in and
                     Official Court Reporter
                                                                                        25   presenting testimony that Lawson is going to contend are
      25            United States District Court



                                                                                 1491                                                                          1493

                                                     1491                                                                           1493
       1   APPEARANCES: (cont'g)                                                        1    defenses to infringement later that are directly implicated by
       2   Dabney J. Carr, IV, Esquire
                                                                                        2    that interrogatory number 24.
           Troutman Sanders, LLP
                                                                                        3          What I have provided Your Honor with is the
       3   Troutman Sanders Building
           1001 Haxall Point                                                            4    appendices that were referenced in the answers to the

       4   Richmond, Virginia 23219                                                     5    interrogatories, the transcript from the March 26th hearing,
       5   Daniel W. McDonald, Esquire                                                  6    telephonic hearing on the motion to compel, and the relevant
           Kirstin L. Stoll-DeBell, Esquire
                                                                                        7    citations to the transcript where this issue came up, and I do
       6   William D. Schultz, Esquire
                                                                                        8    want to continue to press the motion, Your Honor.
           Merchant & Gould, PC
       7   80 South Eighth Street                                                       9          We do think that the answers, even with the

           Suite 3200                                                                   10   appendices, were nowhere near what was called for and what Your
       8   Minneapolis, Minnesota 55402                                                 11   Honor directed Lawson to do in response to that.
       9
                                                                                        12         If I might just, Your Honor, you may recall that
      10
                                                                                        13   these appendices that are being referenced were provided to
      11
      12                                                                                14   ePlus three months before the motion to compel was presented,

      13                                                                                15   and the appendices do not respond to the interrogatory as
      14                                                                                16   represented by counsel for Lawson.
      15                                                                                17         Indeed, if you look at some of the appendices, for
      16
                                                                                        18   example --
      17
                                                                                        19         THE COURT: Is A appendix A?
      18
      19                                                                                20         MR. ROBERTSON: Yes, sir. Under the tab December 23,
      20                                                                                21   2009, response to interrogatory number -- yeah, A is one.
      21                                                                                22         THE COURT: March 26th is the first tab, the
      22
                                                                                        23   transcript, and then there's an A behind that. Is that
      23
                                                                                        24   appendix A or not?
      24
      25                                                                                25         MR. ROBERTSON: I believe appendix A, Your Honor, is




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                                                                             1518                                                                          1520

       1          MS. STOLL-DeBELL: I don't know, Bill, if you can                  1    that you may see.

       2   highlight that item column.                                              2    Q    What kinds of items do you see here?

       3   Q    Can you tell us what that is, Mr. Christopherson?                   3    A   Clearly, I've got some, looks like -- it's a little bit

       4   A   We've been referring to that's kind of the Lawson item               4    fuzzy in mine also, Your Honor, so --

       5   number or the customer part number.                                      5           MS. STOLL-DeBELL: Bill, could we blow up some of

       6   Q    Is that something that -- well, who creates that item               6    those maybe, blow up that description column or somehow make

       7   number?                                                                  7    those bigger and easier to see?

       8   A   The customer does.                                                   8    Q    Is that better?

       9   Q    Does it ever come from the vendor?                                  9    A   Sure. It looks like there's some sort of a surgical tape

      10   A   No, it does not.                                                     10   dispenser, different amounts on each one of those, ten or

      11   Q    Let's go on to the next column. It has a heading                    11   20 yards, some strips. Those are probably Band-Aids, or we

      12   description?                                                             12   might refer to them as Band-Aids, but obviously they don't in

      13   A   Uh-huh.                                                              13   this case. Some needles, varying lengths.

      14   Q    What is that?                                                       14   Q    Looks like maybe shoe covers?

      15   A   That's what we've been referring to as the item                      15   A   Yes, some shoe covers down there, some surgical masks,

      16   description.                                                             16   there's some gloves, there's a gown, there's a scalpel, another

      17   Q    And then what is the column, the next column over? I                17   type of tape. There's some syringes. So a wide selection of

      18   think it says tracked. Can you explain what that is?                     18   things, some related, some not related. The shunt, probably

      19   A   Yes. That has to do with if -- well, in the item master,             19   not related to the shoe covers, for instance.

      20   we have two types of items. We have those that we don't keep             20   Q    Is item master organized by related items?

      21   in stock, what we call nonstock items. Those are items that              21   A   You know, if you look at this, you've got items numbers

      22   when we need them, we always have to go purchase them.                   22   going 1,007, -8, -9, -10, -11, -12, and it's -- I haven't

      23       Then we have our stock items and whether or not we're                23   looked at them all, but they appear to be almost in

      24   tracking the stock of those items, thus tracked, and that has            24   alphabetical order. I see now where 1,026 is not there, but as

      25   to do with tracking that order and -- not the order, but rather          25   I said --




                                                                             1519                                                                          1521

       1   the inventory and making sure that we're always going to have            1           THE COURT: What was the question?

       2   enough on hand.                                                          2           MS. STOLL-DeBELL: The question was, is item master

       3       This particular case, you've got medical instruments. You            3    organized by related items.

       4   want to make sure that -- you got someone going into surgery,            4           THE COURT: Yes or no?

       5   you've got the equipment, the supplies that you need for that            5           THE WITNESS: No, it's not.

       6   surgery before that surgery actually starts or the medical               6    Q    Are items in item master organized by vendor?

       7   procedure.                                                               7    A   No, they are not.

       8   Q    Where does the tracking information come from?                      8    Q    Why not?

       9   A   Tracking information, that's housed within inventory                 9    A   Vendor doesn't come into the item master or the ITEMMAST

      10   control or IC.                                                           10   table at all.

      11   Q    The screen shot we're looking at here, where did the item           11   Q    Is this customer's item master database ever published by

      12   description information come from?                                       12   a vendor?

      13   A   The item description can come from the customer.                     13   A   Can you say that again?

      14   Generally they'll put it in terms that they understand. In               14   Q    Is a customer's item master database ever published by a

      15   particular, a lot of the hospitals will have terms that are              15   vendor?

      16   very similar between hospitals, between locations.                       16          MR. ROBERTSON: Objection, Your Honor, calls for

      17       Take nurses today are very short-supplied within the US,             17   legal conclusion.

      18   and as a result, it's quite often that nurses are having to go           18          MS. STOLL-DeBELL: It does not, Your Honor. I'm

      19   from hospital to hospital even in different companies. They'll           19   asking him to use the ordinary meanings of those terms. They

      20   work different shifts different places. They need to know                20   are not claim terms. I'm just asking for his understanding

      21   basically standardized ways of the way things are being                  21   based upon his experience working at Lawson and working with

      22   identified.                                                              22   these products.

      23   Q    Is this a typical list of items that you see in an item             23          MR. ROBERTSON: Your Honor knows that there's a

      24   master database?                                                         24   dispute with respect to this, and there's a --

      25   A   For medical unit, yes. This would be some of the items               25          THE COURT: Maybe we need to tell the jury what the




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       1   ordinary claim term is -- I mean what the ordinary meaning is,           1    object on that. This gentlemen's supplied no report, no

       2   and he needs to explain what he understands the ordinary                 2    Rule 26 disclosure. I think it's inappropriate.

       3   meaning is. Or maybe I need to do it. Are you finished, Mrs.             3             THE COURT: Well, it is his opinion, I think; isn't

       4   Stoll-DeBell?                                                            4    it?

       5          MS. STOLL-DeBELL: We can ask Mr. Christopher --                   5             MS. STOLL-DeBELL: I think it's a fact.

       6          THE COURT: He doesn't define what the ordinary                    6             THE COURT: It can't be a fact. It's his opinion as

       7   meaning is, does he? He defines what his meaning is. So I                7    to what the facts are; right?

       8   define -- should I go ahead and tell the jury what the ordinary          8             MS. STOLL-DeBELL: It's using the definition he --

       9   meaning is now if that's what the question is?                           9             THE COURT: Do you want it in as an opinion, because

      10          MS. STOLL-DeBELL: Your Honor, I think it's                        10   I'll let it in.

      11   appropriate to let him answer with his understanding. He works           11            MS. STOLL-DeBELL: Yes, then.

      12   with these products every day. He works with customers. He               12            THE COURT: It's not going to come in just as a fact.

      13   already laid his foundation for that, and I'm just asking --             13   It's his opinion.

      14          THE COURT: If he gives the definition of what his                 14            MS. STOLL-DeBELL: Then, yes.

      15   understanding is but it's not what the usual meaning is, it's            15            THE COURT: There are two kinds of people who can

      16   not the same. Then it confuses the jury, doesn't it?                     16   give opinions. One are experts. He's not qualified as an

      17          MS. STOLL-DeBELL: I think it's up to the jury to                  17   expert, so he's not giving an opinion as an expert.

      18   decide what the ordinary meaning is, and we've already heard             18            Lay people, such as you and me, can give opinions

      19   testimony from the witnesses what their understanding of that            19   about matters as well. They can do that if it will help you

      20   ordinary meaning is, and now we're going to ask Mr.                      20   decide a fact that is in issue or if it will help you

      21   Christopherson what his understanding is. And I believe it's             21   understand the evidence and if it is based reasonably on their

      22   up to the jury to ultimately decide what that is.                        22   perception.

      23          THE COURT: Who testified to that?                                 23            It is up to you to decide whether, in listening to

      24          MS. STOLL-DeBELL: Dr. Weaver.                                     24   the testimony, his opinion on this matter is based reasonably

      25          THE COURT: No. He didn't testify what published by                25   on his perception, and if you -- and you can give it such




                                                                             1523                                                                          1525

       1   a vendor meant.                                                          1    weight as you choose or none if you choose which is an

       2          MS. STOLL-DeBELL: I believe he did, Your Honor.                   2    instruction I'll tell you about later. Do you want to ask him

       3          THE COURT: He was asked a different question. I'm                 3    what his opinion is?

       4   going to tell the jury what the definition is. That's enough.            4             MS. STOLL-DeBELL: Yes.

       5   Published by a vendor is used in the definition of the claim             5    Q     Using the definition the Court just gave for published by

       6   term catalog, product catalog. Published simply means to make            6    a vendor, is the customer's item master database ever published

       7   generally known. Published by a vendor simply means that at              7    by a vendor?

       8   some point in time, a vendor, such as a supplier, a                      8    A     If you looked at the entire --

       9   manufacturer, a distributor has made generally known or has              9             THE COURT: I think the answer is yes or no to start

      10   disclosed an organized collection of items or associated                 10   with, and then if she wants you to explain it, she can, but the

      11   information, preferably but not necessarily including a part             11   jury will understand your opinion better if you preface it by

      12   number, price, catalog number, vendor name, vendor ID, textual           12   giving them the guidepost from which to make the assessment if

      13   description of the item and images relating to the item.                 13   there's any further explanation she asks you for. Yes or no?

      14   That's what the general meaning of the term is. I'll have that           14            THE WITNESS: No.

      15   in writing for you.                                                      15            THE COURT: Do you want to ask him to explain that?

      16   Q   Okay, Mr. Christopherson, using that definition of                   16            MS. STOLL-DeBELL: Yes.

      17   published by a vendor, I'm going to ask my question again and            17   Q     Please explain your no answer.

      18   ask that you answer it using that definition.                            18   A     Sure. Looking at the screen that we were just talking

      19          THE COURT: You are going to ask him for his opinion;              19   about, item number, a vendor could not have published that

      20   is that what you are doing?                                              20   because they never had access to it. That's from the customer.

      21          MS. STOLL-DeBELL: I don't think it's an opinion, but              21   Tracked, that's another one where the vendors would love to

      22   if it is, it's a lay opinion based upon his experience and what          22   have the customers have everything in stock. That comes at a

      23   he's seen and what he does in his job.                                   23   cost to the customer, and they don't want to do that. They may

      24          MR. ROBERTSON: Your Honor, I think it's still                     24   have items that are low turnover, they only use maybe once or

      25   calling for a legal conclusion from a lay witness, so I would            25   twice a year.




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       1       There's many other fields that are in the item master.                 1    Q   Do Lawson's customers maintain the item master database in

       2   We've talked about some of them. You know, catalog number, the             2    private?

       3   vendor's part number or its number, the manufacturer number,               3    A   Yes.

       4   clearly those came from the -- the manufacturer came from the              4            MR. ROBERTSON: Objection, relevancy, Your Honor.

       5   manufacturer, and the vendor number came from the vendor, and              5            MS. STOLL-DeBELL: Your Honor, it goes to --

       6   those were in their catalogs at some point in time. The                    6            THE COURT: What does that have to do with anything?

       7   description generally --                                                   7            MS. STOLL-DeBELL: I think it goes to whether it's

       8             THE COURT: Those did come from a vendor?                         8    published by a vendor, whether it meets your definition --

       9             THE WITNESS: What did come from --                               9            THE COURT: No, I don't think so. Objection

      10             THE COURT: Those that you just testified to --                   10   sustained. Disregard the answer, please.

      11             THE WITNESS: Did come from the vender, but --                    11           MS. STOLL-DeBELL: Can we go to, Bill, PX-363, and

      12             THE COURT: So they were published by a vendor?                   12   I'm going to want to see page that ends in 942297.

      13             THE WITNESS: Those particular items, right.                      13           MR. ROBERTSON: I'm sorry, Ms. Stoll-DeBell, what

      14             THE COURT: Thank you.                                            14   page?

      15             THE WITNESS: Where I was differentiating, she was                15           THE COURT: What exhibit are we on?

      16   saying the item master, that, in itself, all the fields were               16           THE CLERK: 363.

      17   not, and that's why I was really struggling with the yes or no,            17           MS. STOLL-DeBELL: Actually I need to get you a

      18   Your Honor.                                                                18   better page.

      19             THE COURT: I know, but the jury have a right to                  19   Q   Let's go to the page ending in 942297.

      20   understand what people's opinions are before they start talking            20           THE COURT: 297, the last three digits?

      21   about them.                                                                21           MS. STOLL-DeBELL: Yes.

      22             THE WITNESS: I appreciate that.                                  22   Q   What is this, Mr. Christopherson?

      23             THE COURT: Then they understand what they're being               23   A   That is the login screen to get into the Lawson system

      24   told.                                                                      24   requiring a user name and a password.

      25   Q       Do a lot of fields come from the customer in item master?          25   Q   So when a customer or when anyone wants to use Lawson




                                                                               1527                                                                          1529

       1   A   Most of the fields.                                                    1    software, do they need to have a user name and password?

       2             MR. ROBERTSON: Object to the form of the question;               2            MR. ROBERTSON: Objection, Your Honor, relevancy.

       3   vague, ambiguous as to a lot of fields.                                    3            MS. STOLL-DeBELL: It goes to his opinion, support

       4   Q       Do most of the fields in item master come from the                 4    for his opinion as to whether item master is -- meets the

       5   customer?                                                                  5    definition of catalog as defined --

       6             MR. ROBERTSON: Same objection, Your Honor. I mean,               6            THE COURT: I don't understand why, the fact that

       7   if we want to be specific, there's hundred of fields.                      7    somebody needs a password to get in and use it.

       8   Q       Mr. Christopherson, are there hundreds of fields in item           8            MS. STOLL-DeBELL: I think it goes to whether item

       9   master?                                                                    9    master is made generally known or not.

      10   A   No, there's not.                                                       10           THE COURT: The issue is not whether item master is

      11   Q       How many fields are in item master?                                11   made generally known. It's whether the things that are listed

      12   A   I don't recall, but there's under 100.                                 12   in item master are made generally known, isn't it?

      13             THE COURT: So there are a lot, I mean between 0 and              13           MS. STOLL-DeBELL: Well, I think --

      14   100?                                                                       14           THE COURT: The issue is what's in the item master,

      15             THE WITNESS: Yes, Your Honor.                                    15   not whether item master is made generally known as I understand

      16             THE COURT: Is it closer to a hundred than it is to               16   the way you all have tried the case, so objection sustained.

      17   zero, or close to zero than it is to a hundred?                            17   Q   For a user to gain access to see what information is in

      18             THE WITNESS: It's probably pretty close to 50                    18   item master, do they need to use login credentials as shown on

      19   roughly.                                                                   19   this screen?

      20             THE COURT: So there are 50. You can handle that on               20           MR. ROBERTSON: Same objection, Your Honor.

      21   cross-examination, Mr. Robertson. Overruled.                               21           THE COURT: It may be admissible for a different

      22             MR. ROBERTSON: Thank you, Your Honor.                            22   purpose. Besides that, Dr. Weaver has already testified about

      23   Q       Would you say a majority of those 50 come from the                 23   putting in the user name that says Lawson, and then he said, we

      24   customer?                                                                  24   put in our password. So it may be appropriate, but it's not

      25   A   I would say from the customer it is clearly a majority.                25   appropriate for -- the previous question wasn't. All right,




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                                                                            1530                                                                          1532

       1   overruled.                                                              1    court, and the objection has been overruled, and I'm going to

       2   Q   Do you need me to ask that again?                                   2    allow questioning, but, Mr. Robertson is not going to stand up

       3   A   Yes, please.                                                        3    and object to every question about this particular

       4   Q   In order for a user or anyone to gain access and see what           4    demonstrative exhibit because it would then interrupt the flow

       5   information is in the item master database, do they need to             5    of your hearing and understanding, but his objection is

       6   enter a user name and password?                                         6    preserved under the terms previously articulated yesterday, Mr.

       7   A   Yes, at a minimum.                                                  7    Robertson.

       8   Q   Okay, I'm going to change topics slightly,                          8           MR. ROBERTSON: Thank you, sir.

       9   Mr. Christopherson, and I want to talk about how item                   9    Q    Okay, Mr. Christopherson, can you see that?

      10   information is loaded into the customer's Lawson databases.             10   A   Yes, I can.

      11   Are there different ways that item information can be loaded            11   Q    Does this describe essentially a three-step process for

      12   into the item master database?                                          12   loading item information into the customer's Lawson database?

      13   A   Yes, there are.                                                     13   A   Yes, it does.

      14   Q   What are those different ways at a high level?                      14   Q    What is the first step? Does it have a nickname that you

      15   A   You start with the most basic which would be just key in            15   use to identify this first step?

      16   the items. Someone such as a buyer for an organization working          16   A   Sure. In fact, all three steps, collectively we just call

      17   in the purchasing department could just sit in inventory                17   that the ETL process, and that's very standard within the

      18   screens and just type in all the required fields. That would            18   computer industry.

      19   be the easiest way, particularly if you are just entering in            19   Q    E stand for?

      20   one or two items.                                                       20   A   E stands for extraction.

      21   Q   So is it safe to call that a manual entry of item                   21   Q    What does T stand for?

      22   information?                                                            22   A   Transformation or transform.

      23   A   Sure.                                                               23   Q    And what about L?

      24   Q   Are there tools that Lawson offers that can be used to              24   A   Load.

      25   import information into the database?                                   25   Q    Let's talk about the extraction step. Where is that shown




                                                                            1531                                                                          1533

       1   A   Absolutely. There's a PO 536.                                       1    on this demonstrative?

       2   Q   Are there third-party tools that can used --                        2    A   Very first step.

       3         THE COURT: PO or field?                                           3    Q    And you can actually maybe even touch it and put a little

       4         THE WITNESS: PO 536.                                              4    arrow maybe.

       5         THE COURT: And that is a what?                                    5           THE CLERK: What is the number of this exhibit?

       6         THE WITNESS: We've referred to it as, I think, about              6           THE COURT: It's not. It's a demonstrative.

       7   three different ways so far in court, but it's a way to load            7           THE CLERK: Thank you.

       8   vendor agreements was one it's been called, a catalog load, I           8    Q    Tell us how the extraction step works.

       9   think or something very similar to that.                                9    A   The extraction step, basically that's the vendor. The

      10         THE COURT: All right.                                             10   customer will ask for the items that they want or maybe the

      11         THE WITNESS: Kind of a couple different names.                    11   entire catalog. That catalog is generally today going to be

      12   Q   Are there third-party party tools that can be used to load          12   housed in a database at the vendor's site. Could also be a CD

      13   item information into the item master database?                         13   or DVD.

      14   A   Sure. You could use the SQL tools -- structure query                14       They need to get that data from the vendor's system

      15   language is what SQL stands for -- provided by the database             15   extracted into some form, email message or a flat file -- when

      16   providers, so Oracle or IBM for DB-2, for instance.                     16   I say flat file, I mean CSV file -- and send that over to the

      17   Q   Did you create a demonstrative exhibit that will help               17   customer.

      18   explain the process that's used to load item information into           18   Q    And then the next step is the transformation step?

      19   the item master database?                                               19   A   Transformation, correct.

      20   A   Yes, I did.                                                         20   Q    Is that shown in the middle box of this slide?

      21         MS. STOLL-DeBELL: Bill, can we put that up, please.               21   A   That's correct. That's this one.

      22         MR. ROBERTSON: I'm just going object for the record               22   Q    Looks like there are sort of four sub steps that are a

      23   on this. This is the demonstrative we talked about yesterday.           23   part of that?

      24   I understand the Court's ruling.                                        24   A   Correct.

      25         THE COURT: Yes, I've already dealt with this out of               25   Q    Okay. What is the first sub step that is part of the




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       1   transformation process?                                                   1    Q    So you are familiar with Lawson's policies?

       2   A     So you get the file from the vendor, and now you're going           2    A   Correct.

       3   to go through and select what do you really want in your item             3    Q    Is it Lawson's policy to encourage customers to load all

       4   master. Just because you negotiated prices on a hundred items,            4    of the item information they receive from a vendor into the

       5   you may not want actually the hundred loaded. You may only                5    item master database?

       6   want 80. Maybe it's 99. Maybe it's all 100. Or the vendor                 6           MR. ROBERTSON: Objection, relevancy, Your Honor.

       7   sent you the entire catalog, and you may not want to load that            7           THE COURT: Overruled.

       8   entire catalog. You go through and select what you want out of            8    A   No, it's not.

       9   that, identify those that you really want to keep and continue            9    Q    What does Lawson encourage its customers to do?

      10   on.                                                                       10   A   When a customer comes up with that sort of an idea, myself

      11   Q     Do you encourage your customers to select all of the items          11   personally and actually other members of my team, because it's

      12   that a vendor may send as part of the extraction step?                    12   not always me interacting with the customers, but obviously

      13           MR. ROBERTSON: Objection, lacks foundation.                       13   I've got --

      14           MS. STOLL-DeBELL: It doesn't, Your Honor. I think                 14          THE COURT: That disqualifies the answer because he's

      15   he already testified at length actually about all of his                  15   now -- he was asked, and the answer is nonresponsive. He was

      16   customer interactions as part of his job.                                 16   asked about whether there's a policy and is there a policy. If

      17           THE COURT: Well, are you asking him has he ever, or               17   he does it, that doesn't make it a policy, and the fact that

      18   are you asking has any of Lawson's sales force ever?                      18   maybe one or two other people may do it doesn't make it a

      19           MS. STOLL-DeBELL: I'm asking him. Does he encourage               19   policy.

      20   customers.                                                                20          A policy is something that's adopted by the company,

      21           THE COURT: And what relevance is that?                            21   and either they have the policy or they don't have the policy,

      22           MS. STOLL-DeBELL: I think he works with Lawson's                  22   or -- and then if you've got another issue, you can get into

      23   customers.                                                                23   that, but policies -- he's disqualified himself from answering

      24           THE COURT: I know that.                                           24   that question with the policy because he said it's based on his

      25           MS. STOLL-DeBELL: Okay, and so it goes to whether                 25   practice.




                                                                              1535                                                                          1537

       1   the item master database is -- meets the definition of catalog            1    Q    Mr. Christopherson, are you aware of the policy that

       2   as set forth by the Court.                                                2    Lawson has regarding selecting item information to load into

       3           THE COURT: So it's offered -- is what his practice                3    the item master database?

       4   is offered to whether or not Lawson's product meets the                   4    A   Yes.

       5   definition?                                                               5    Q    Can you answer the question about what is that policy?

       6           MS. STOLL-DeBELL: Yes, and how Lawson talks with its              6           THE COURT: Just what is the policy.

       7   customers and how it instructs its customers to use --                    7    A   The policy is that we will first ask the customer why do

       8           THE COURT: He said he hadn't got a foundation. You                8    you want to do that. We want to establish what the

       9   asked him to testify about his own personal practice, and it's            9    requirements are. Inevitably what we find out --

      10   not -- it's of marginal relevance, but it's confusing and                 10          THE COURT: No. You're going to have to take hold of

      11   leaves open the door to a lot of other responses that will                11   the examination, because we have -- this kind of testimony,

      12   just, that would delay the trial, confuse the jury, and make a            12   self-starting, rambling testimony creates all kinds of

      13   difficult situation for the jury already more difficult. So               13   problems, and we're in a question that has been objected to,

      14   I'm going to sustain the objection for lack of foundation.                14   Mrs. Stoll-DeBell, and he was asked about the policy.

      15   Q     Mr. Christopherson, are you familiar in your job with               15          He said what the policy was, and then he goes on and

      16   Lawson's practices and its instructions to its customers on how           16   gives a lot of other information, and that isn't responsive to

      17   to load item information into the item master database?                   17   the question, and it doesn't give Mr. -- and the reason for all

      18           MR. ROBERTSON: Objection, Your Honor.                             18   this is that Mr. Robertson, your opponent, has the right to

      19           THE COURT: The question is -- what is your objection              19   object to a question, and if the witness is self-animating

      20   to that question?                                                         20   everything, he doesn't have that opportunity and we have to

      21           MR. ROBERTSON: Relevancy.                                         21   move to strike the testimony, and then we have to ask the jury

      22           THE COURT: It's what he does. Overruled. She's                    22   to do the difficult thing and disregard that which has been

      23   trying to lay the foundation to which you objected, I think.              23   said. So let's get hold of it.

      24           MS. STOLL-DeBELL: Yes, Your Honor.                                24          Now, Mr. Christopherson, listen to the question. You

      25   A     Yes, I am.                                                          25   answer the question. Just answer the question. Don't




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       1   elaborate on it, and then Ms. Stoll-DeBell, if she wants more            1    A   It's modified for usually two purposes. One, if the

       2   information, will ask you another question on that or another            2    description is greater than 30 characters, the field only holds

       3   topic; okay?                                                             3    30 characters, and you want to have something that reasonably

       4           THE WITNESS: Yes, sir.                                           4    describes the item that your users would know is the item that

       5   Q   Is Lawson's policy to instruct its customers to only load            5    you are trying to purchase or requisition on.

       6   the item information for those items that it's going to                  6        But also what we'll have, as I said earlier, is many of

       7   actually use or purchase?                                                7    the institutions or the customers will actually come up with

       8   A   Yes.                                                                 8    standard terminology for the items to help -- they can do

       9   Q   The second sub step on this demonstrative says, adding               9    searches quicker, and it helps their employees as they move

      10   additional item information. What additional item information            10   around in the organization.

      11   can be added in this step?                                               11   Q    What about price, is that a modified information?

      12   A   The item number that the customer would be using, that's             12   A   The price is typically going to come from --

      13   one. Whether or not there's going to be tracking, if there's             13          THE COURT: Yes or no?

      14   stock or nonstock items, what its inventory levels might be,             14          THE WITNESS: It's not modified, no.

      15   additional user fields that exist, UNSPSC codes, other category          15   Q    Can it be modified?

      16   codes.                                                                   16          MR. ROBERTSON: Objection, Your Honor. The witness

      17   Q   What about, are there classification fields within the               17   has answered the question, no, it's not modified. I think it's

      18   item master database?                                                    18   an improper question.

      19   A   Correct.                                                             19          MS. STOLL-DeBELL: I asked can it be.

      20   Q   What classification fields are there?                                20          MR. ROBERTSON: What is the relevance then, Your

      21   A   The classification fields, I'm not sure now which                    21   Honor?

      22   classification fields you are talking about.                             22          THE COURT: If it's not ever, whether it can be or

      23   Q   Are there inventory classifications fields?                          23   not seems to me to be irrelevant. Sustained.

      24   A   Yes.                                                                 24   Q    Mr. Christopherson, is it ever modified?

      25   Q   Are there purchasing classifications fields?                         25          MR. ROBERTSON: Objection, Your Honor.




                                                                             1539                                                                          1541

       1   A   Correct.                                                             1           THE COURT: Wait a minute. I've got to deal with a

       2   Q   Are those Lawson-specific fields?                                    2    contempt problem here. I'm in contempt. I forgot to put that

       3   A   Yes.                                                                 3    thing --

       4   Q   That do not come from a vendor?                                      4           MS. STOLL-DeBELL: I thought you were going to say

       5   A   Correct, they do not.                                                5    I'm in contempt, Your Honor. I was a little worried there for

       6   Q   Are there any other Lawson-specific fields that you can              6    a minute.

       7   think of right now that would be added as part of this step?             7           THE COURT: All right. Sorry. Nobody can be

       8   A   There's also some user numerical fields.                             8    listening and paying attention to what you're doing while I was

       9   Q   The next sub step says, deletes item information?                    9    in contempt which is why I keep these things out of the

      10   A   Correct.                                                             10   courtroom. I'm terribly sorry.

      11   Q   What item information is deleted here?                               11          Ask your question again. Don't answer, please, sir,

      12   A   It may be the entire line item meaning I don't want that             12   because there's obviously going to be an objection. Now with

      13   item at all. It may be, for instance, they may have sent                 13   my contempt purged, let's go ahead.

      14   photos. The customer may not want photos loaded into the                 14          MS. STOLL-DeBELL: Let me back up and ask this a

      15   system. That requires space and band width. They may delete              15   different way.

      16   that.                                                                    16          THE WITNESS: Sure.

      17   Q   The last sub step that's listed on this slide is modifies            17   Q    The price information that is put into the item master

      18   item information. What item information is modified?                     18   database, is that a public list price that the vendor sells the

      19   A   Frequently it's the item description.                                19   item for?

      20   Q   And is it modified as you described earlier to get a                 20          MR. ROBERTSON: Objection, relevancy.

      21   standardized description name?                                           21          MS. STOLL-DeBELL: Your Honor, this goes to, again,

      22           MR. ROBERTSON: Objection to the characterization of              22   whether the information in item master is published by a

      23   the witness's testimony.                                                 23   vendor, whether this price field specifically is generally

      24           THE COURT: I don't think he said that.                           24   available or not.

      25   Q   Why is it modified?                                                  25          THE COURT: How does he know that? That's something




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       1   that this record testified -- the testimony on this record is            1    it's generally known and whether item master --

       2   that whatever prices are set are between the vendor and the              2          THE COURT: Whether what's generally known?

       3   Lawson customer, and it may be sometimes they are and sometimes          3          MS. STOLL-DeBELL: The information in item master as

       4   they aren't, depending upon what goes on is the testimony. So            4    it has been loaded in.

       5   how can he know that? I don't understand how he can even                 5          THE COURT: Whether the contents of item master are

       6   answer the question because he's got how many, 300, 400                  6    generally known doesn't have anything to do with this case.

       7   customers?                                                               7    It's whether the information that goes into item master is

       8            MS. STOLL-DeBELL: More than that. May I lay a                   8    generally known that we're litigating, I think. Objection

       9   foundation?                                                              9    sustained. It's confusing in addition to the extent it has

      10            THE COURT: More than that, okay, I'm sorry. I                   10   marginal relevance.

      11   didn't mean to diminish the size of the company's business, but          11   Q   We're going to switch topics.

      12   how many? Thousands of customers?                                        12   A   Okay.

      13   Q   How many customers does Lawson have for these products?              13   Q   Mr. Christopherson, have you watched the recorded

      14   A   For these specific products, I couldn't give you a firm              14   demonstrations that Dr. Weaver did showing the functionality of

      15   answer on that.                                                          15   Lawson's accused software?

      16            THE COURT: It's so many he doesn't even know, and               16   A   Yes.

      17   you are asking him to say what happens in situations -- how do           17   Q   Let's pull up PX-363.

      18   you turn these things off? Consign it to the office, please.             18         MR. ROBERTSON: I'm going object to this line of

      19   Third contempt yields a prison sentence. I am sorry.                     19   questioning if we're going to be commenting -- we're going to

      20   Sustained.                                                               20   have a witness comment on the demonstrations that an expert has

      21   Q   After this information is transformed, it looks like the             21   performed. It's inappropriate lay witness testimony.

      22   next step says, customer loads new info into the Lawson                  22         THE COURT: It seems to me like maybe it offends the

      23   database?                                                                23   lay witness provision, depending upon what it is, because the

      24            MR. ROBERTSON: Objection. It's leading, Your Honor.             24   lay witness provision explicitly says that you can't garb lay

      25            THE COURT: She just describing what's on the slide.             25   witness opinion in -- I mean expert opinion in lay witness garb




                                                                             1543                                                                          1545

       1   She didn't get a question out yet. Okay, now ask the question            1    and get it in that way.

       2   again.                                                                   2          Otherwise, if he's testifying on the same subjects as

       3   Q   Is the last step on this slide to load new information               3    Dr. Weaver was testifying about, then he'd be giving expert

       4   into the Lawson database?                                                4    testimony, and he does not qualify. He hasn't qualified as an

       5   A   Yes.                                                                 5    expert or given a report. Why isn't it improper lay testimony?

       6   Q   And is the information that is loaded into the Lawson                6          MS. STOLL-DeBELL: Because I'm simply going to ask

       7   database the information that was just transformed as we talked          7    him questions about what the software does. I am not going to

       8   about earlier?                                                           8    ask him to apply the function of the software to the claims in

       9   A   Yes.                                                                 9    this case. I am merely going to go in and ask questions about

      10   Q   And it looks like there are three different tables on this           10   the demonstrations that Dr. Weaver did and how Lawson software

      11   demonstrative?                                                           11   works.

      12   A   Correct.                                                             12         THE COURT: Using that exhibit.

      13   Q   Why are there three separate tables there?                           13         MS. STOLL-DeBELL: Yes.

      14   A   Those are the three tables that data is commonly loaded              14         THE COURT: All right.

      15   into. Depending on what else they are adding, it may go into             15         MR. ROBERTSON: I still press the objection, Your

      16   some additional tables.                                                  16   Honor, because I think it's improper for this witness to be

      17   Q   So is it fair to say that even after the information is              17   testifying as to what Dr. Weaver presented as an expert witness

      18   transformed, that it is then divided up and sent to different            18   in his demonstrative.

      19   tables within the Lawson database?                                       19         THE COURT: Why don't we take it question by question

      20   A   Correct.                                                             20   and see. Now, before we get too far removed on the previous

      21   Q   After this information is extracted, transformed, and                21   question, your question -- from the previous question. Your

      22   loaded, is it different than the information that was received           22   question was, what was his opinion as to whether or not the

      23   from the vendor?                                                         23   information, when it got finished with ETL, was different from

      24            MR. ROBERTSON: Objection, Your Honor, relevancy.                24   when it started ETL; is that right?

      25            MS. STOLL-DeBELL: Your Honor, it goes to whether                25         MS. STOLL-DeBELL: Yes.




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       1   instructions that we think will be appropriate.                 1

       2           THE COURT: Several? How about one good one?             2

       3           MS. STOLL-DeBELL: One with many facets, Your            3

       4   Honor.                                                          4

       5           THE COURT: Listen, I'm going to make you sit            5

       6   on the jury. I think every lawyer ought to have to              6

       7   sit on a jury and ought to have to listen to these              7

       8   instructions and try to figure out what do they mean.           8

       9   Because if you read them from the jury's standpoint,            9

      10   particularly these model instructions in the patent             10

      11   area, what they're doing is -- nobody has really made           11

      12   a real good effort to simplify them yet.                        12

      13           Judge Spencer did better in SAP in                      13

      14   simplifying the instructions than almost anybody I've           14

      15   ever seen, but there have with some legal changes               15

      16   since that time that prohibit me from adopting them             16

      17   full scale.                                                     17

      18           All right. That takes care of them. I'm not             18

      19   real hopeful that you're going to get your evidence or          19

      20   I don't think you ought to be hopeful that you're               20

      21   going to get that evidence in, Mr. Robertson, because           21

      22   it seems to me it invites the jury to speculate and             22

      23   it's a problem, I think.                                        23

      24           MR. ROBERTSON: I understand, Your Honor.                24

      25   We're also concerned about prejudice given the fact we          25




                                                                    1787

       1   proffered that in good faith when it came up with the

       2   witness that he had a lay opinion as to his intent. I

       3   thought it was relevant then because his lay opinion

       4   as to the intent I didn't think was very persuasive,

       5   but if you go get a legal opinion on these issues that

       6   obviously involve the patents, and then you make the

       7   conscious decision not to disclose it, I think that's

       8   part of the circumstantial evidence they can consider.

       9           I understand Your Honor's ruling.

      10           THE COURT: I haven't rules.

      11           MR. ROBERTSON: I understand Your Honor's

      12   suggestion which way you might rule, but you're going

      13   to be fair and read the papers.

      14           THE COURT: I thought maybe if I gave you all

      15   some insight into where I was right now since we're on

      16   the fly that your arguments might be better informed

      17   in the morning, just as my thinking will be better

      18   informed if I read what you-all tendered for me to

      19   read.

      20           Thank you so much for the overnight present.

      21   I appreciate it.

      22

      23           (The proceedings were adjourned at 5:26 p.m.)

      24

      25




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       1         IN THE UNITED STATES DISTRICT COURT                                                                                  1791
       2         FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                        1               PROCEEDINGS
       3              RICHMOND DIVISION
       4                                                                                2
       5   --------------------------------------
                                                                                        3          THE CLERK: Civil action number 3:09CV00620, ePlus,
                                           :
       6    ePLUS, INC.                           : Civil Action No.                    4    Incorporated, versus Lawson Software, Incorporated. Mr. Scott
                                           : 3:09CV620                                  5    L. Robertson, Mr. Craig T. Merritt, Ms. Jennifer A. Albert, and
       7    vs.                              :
                                           :                                            6    Mr. Michael G. Strapp represent the plaintiff.
       8    LAWSON SOFTWARE, INC.                           : January 14, 2011          7          Mr. Daniel W. McDonald, Mr. Dabney J. Carr, IV, Ms.
                                           :
       9   --------------------------------------                                       8    Kirstin L. Stoll-DeBell, and Mr. William D. Schultz represent
      10                                                                                9    the defendant. Are counsel ready to proceed?
      11          COMPLETE TRANSCRIPT OF THE JURY TRIAL
                                                                                        10         MR. ROBERTSON: Plaintiff is, Your Honor.
      12           BEFORE THE HONORABLE ROBERT E. PAYNE
      13          UNITED STATES DISTRICT JUDGE, AND A JURY                              11         MR. McDONALD: Yes, we are.
      14
                                                                                        12         THE COURT: All right. Ladies and gentlemen, I'm
           APPEARANCES:
      15                                                                                13   pleased to report to you my unofficial survey that the economy
           Scott L. Robertson, Esquire
                                                                                        14   is recovered. For the first time in 40 years of trading at the
      16   Michael G. Strapp, Esquire
           Jennifer A. Albert, Esquire                                                  15   Westhampton Bakery, I had to wait 20 to 30 minutes even to get
      17   David M. Young, Esquire                                                      16   served, and this the lowest period of the year for that bakery,
           Goodwin Procter, LLP
      18   901 New York Avenue NW                                                       17   they tell me. So I just wanted you to know, but I told them I
           Suite 900                                                                    18   was waiting because I had promised you would get your donuts
      19   Washington, D.C. 20001
      20   Craig T. Merritt, Esquire                                                    19   and I don't want to be guilty.
           Christian & Barton, LLP                                                      20         Dr. Shamos, I saw him earlier. Dr. Shamos, I remind
      21   909 East Main Street
           Suite 1200                                                                   21   you -- everybody is renaming you, aren't they?
      22   Richmond, Virginia 23219-3095                                                22         THE WITNESS: We'll see.
           Counsel for the plaintiff
                                                                                        23         THE COURT: I remind you you are under the same oath
      23
      24               Peppy Peterson, RPR                                              24   you took yesterday, sir.
                     Official Court Reporter
                                                                                        25         THE WITNESS: Yes, sir.
      25            United States District Court



                                                                                 1790                                                                          1792

                                                     1790                                                                             1792
       1   APPEARANCES: (cont'g)                                                        1          THE COURT: Thank you.
       2   Dabney J. Carr, IV, Esquire
                                                                                        2
           Troutman Sanders, LLP
                                                                                        3                MICHAEL I. SHAMOS,
       3   Troutman Sanders Building
           1001 Haxall Point                                                            4    a witness, called by the defendant, having been previously

       4   Richmond, Virginia 23219                                                     5    duly sworn, testified as follows:
       5   Daniel W. McDonald, Esquire                                                  6                DIRECT EXAMINATION
           Kirstin L. Stoll-DeBell, Esquire
                                                                                        7    BY MR. McDONALD: (resuming)
       6   William D. Schultz, Esquire
                                                                                        8    Q   Good morning, Dr. Shamos. How are you?
           Merchant & Gould, PC
       7   80 South Eighth Street                                                       9    A   Good morning. I'm good.

           Suite 3200                                                                   10   Q   I would like to pick up where we left off, if I got it
       8   Minneapolis, Minnesota 55402                                                 11   right anyway here this morning, with this slide showing some of
       9
                                                                                        12   the elements of claim one of the '516 patent on this slide that
      10
                                                                                        13   you put together. Can you walk us through --
      11
      12                                                                                14         THE COURT: Mr. McDonald, excuse me. Just for

      13                                                                                15   orientation purposes, when we left off, you had said that you
      14                                                                                16   were going through each claim one by one to show, and that's
      15                                                                                17   what you are doing.
      16
                                                                                        18         MR. McDONALD: Thank you, yes.
      17
                                                                                        19         THE COURT: I said it's a good time to take a break,
      18
      19                                                                                20   so that's what we'll be doing now, is hearing Dr. Shamos's
      20                                                                                21   opinion on each claim that's at issue.
      21                                                                                22   Q   We have the 12 claims. We're going to take them one at a
      22
                                                                                        23   time; right, Dr. Shamos?
      23
                                                                                        24   A   Yes.
      24
      25                                                                                25   Q   Okay. So let's start here with what you have on your




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       1   slide, claim one of the '516 patent. Can you walk us through             1    A   That's right. It's any time the word catalog is used.

       2   your thought process as you put this slide together to explain           2    Q    Okay. So why don't you take us a bullet point at a time

       3   your opinion about that claim?                                           3    and a take a pause here, and maybe I can ask you a question

       4   A   Yes. What I did here was I took each one of the asserted             4    between each bullet point to tell us about your analysis here

       5   claims. I think the text of each claim is present in its                 5    of the catalogs issue in this case.

       6   entirety, and I splint them out element by element, and where I          6    A   Okay. Well, we have to look at where the data in item

       7   had a comment relating to that element, I put it in blue.                7    master comes from, because item master starts out empty when

       8       So the first element of the '516, claim one, is a                    8    the system is installed. The purpose for the system is to

       9   collection of catalogs of items stored in an electronic format,          9    allow a user at a particular company, particular licensee of

      10   and as I explained yesterday, there certainly is no collection           10   this software, to be able to select items that he wants to have

      11   of catalogs. So that element isn't present.                              11   supplied to him, wants to order.

      12   Q    Why don't we stop there for a moment, because I passed              12   Q    Let me stop you there. Do you look at that as the same

      13   over a slide yesterday, but I think we can come back to that             13   purpose or a different purpose from a catalog as the Court has

      14   now today. If we can go to slide ten that talks about the                14   defined it?

      15   catalog issue. This is another slide you created; right, Dr.             15   A   The purpose for a catalog is to allow somebody to know

      16   Shamos?                                                                  16   what a vendor is offering, what their menu of selection is that

      17   A   Yes.                                                                 17   they can buy. That's the purpose of the catalog.

      18   Q    So this relates to claim one of the '516 patent that we             18   Q    Is that the purpose of the Lawson item master?

      19   started talking about today.                                             19   A   Yes.

      20          MR. ROBERTSON: Your Honor, I am going to object to                20   Q    Is the purpose of the item master of the Lawson system to

      21   this slide. I apologize.                                                 21   show the products that a vendor is offering to sell?

      22          THE COURT: Wait a minute. Take the slide off,                     22   A   No. It's to show the set of products that this company is

      23   please.                                                                  23   possibly interested in buying.

      24          MR. ROBERTSON: The last bullet point, Your Honor, as              24   Q    So I'll let you continue then through the bullet points.

      25   addressed before, it says item master not published by a                 25   A   Yes. So, there are many different ways in which data can




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       1   vendor. This was something that Your Honor addressed with Mr.            1    get into item master. One way is that vendors make available,

       2   Christopherson. That's not consistent with the Court's claim             2    in an electronic form, the list of products that they offer.

       3   construction. The item master doesn't have to be published by            3    The customer can then choose from among those products the ones

       4   a vendor. I think you took that up before.                               4    that it would like to load into item master. That's one way.

       5          THE COURT: This is his reason for doing it. We'll                 5        Another is it doesn't even have to start from a vendor.

       6   deal with all of that later, I think.                                    6    It can be from databases that already exist at the customer.

       7          MR. McDONALD: Your Honor, just to be clear --                     7    The customer can decide to load those into item master.

       8          THE COURT: Excuse me. I'm sorry. This is his                      8        Now, it's conceivable that somebody could take a vendor's

       9   reason for his opinion, and I think he's entitled to give that.          9    catalog and load absolutely everything that was in that catalog

      10   Whether he's right or not, it's what you and Mr. McDonald will           10   that would fit into item master, into item master. In that

      11   have to argue to the jury.                                               11   case, I wouldn't see any particular difference between the

      12          MR. McDONALD: So you know, we tried to go through                 12   vendor's catalog and item master. I don't have any evidence

      13   all these slides last night, and I thought actually this one             13   that that ever occurred or ever does occur.

      14   had been approved by ePlus's attorneys, and I'm trying to only           14   Q    In your report, I think when you were addressing this

      15   go through the slides today we've already cleared up. So I               15   issue, you talked in terms of a phonebook and an address book;

      16   apologize for any glitches we have.                                      16   do you recall that?

      17          THE COURT: I don't know that there was a glitch.                  17   A   Yes.

      18   Anyway, the objection is overruled, and you may proceed. Put             18   Q    Can you explain how that would relate here to your

      19   it back up, please, sir.                                                 19   analysis of the issue you were just talking about?

      20   Q    So, Dr. Shamos, this was the slide you put together that            20   A   Yes. Well, I have an address book, as many people do. It

      21   relates to the word catalog as defined by the Court in all the           21   contains a list of people that I have a feeling that sometime

      22   various claims that use the word catalog; is that right?                 22   in the future I may want to contact or may want to call or may

      23   A   Yes.                                                                 23   want to write to, and one way to construct an address book is

      24   Q    So it's not just claim one of the '516 patent, right, that          24   to go through the phonebook, look up the phone numbers of the

      25   we're talking about when we talk about catalogs?                         25   people that you are familiar with, and you write those into




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       1   your address book.                                                       1    A   No.

       2       You can think of the phonebook as the phone company's                2    Q   Why don't you go ahead and continue with this slide.

       3   catalog. It's the list of people that are available to be                3    A   Yes. So the third bullet point, even if a customer loads

       4   called by that phone company. But an address book is not the             4    all item data from a published vendor catalog, that is if it

       5   same thing as that. The address book is uniquely crafted by              5    only comes from one place, that still doesn't mean it's a

       6   me. It's my selection of those people that are callable that             6    catalog within the Court's construction.

       7   I'm interested in calling.                                               7    Q   Why is that?

       8   Q    Is it your understanding that under Dr. Weaver's analysis,          8    A   It was not emitted by a vendor.

       9   would he consider that address book in your example there a              9    Q   It was not? I'm sorry?

      10   catalog as the Court has defined it or not?                              10   A   It was not emitted, it was not distributed by a vendor.

      11   A   That's my understanding.                                             11          THE COURT: Just a minute. The Court's construction

      12   Q    What is your understanding?                                         12   doesn't have anything to do with distributed by a vendor. It

      13   A   Of his opinion.                                                      13   has published by a vendor. That testimony -- what he just did

      14   Q    What is your understanding?                                         14   is give claim construction.

      15   A   My recollection from --                                              15          Let's keep it to the claim construction, please, the

      16          THE COURT: Just a minute. He doesn't have any way                 16   questions, because it's hard enough for the jury to follow

      17   of answering what Dr. Weaver testified to in court, because he           17   technical issues in any patent case without having to undo what

      18   doesn't know, he was excluded, and what he remembers of Dr.              18   has been done here. So just, please, straighten it out.

      19   Weaver's report isn't appropriate for examination because the            19   Q   Maybe it would be useful, Dr. Shamos, if we just go to

      20   reports don't come into evidence.                                        20   slide ten, please. This is some analysis that you did as to

      21          It's only the testimony that comes into evidence, and             21   why an item master in the Lawson system is different from the

      22   so I don't think either one of you need to be questioning what           22   catalog as defined by the Court; is that right?

      23   the other expert did in his report. Those reports are done for           23   A   Yes.

      24   purposes of giving opinions and having preliminary matters.              24   Q   Can you walk us through one bullet point at a time,

      25   The only purpose of it here in court, of the report here in              25   please, what you put together in this slide.




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       1   court is if an expert testifies beyond the scope of the report,          1           MR. ROBERTSON: Your Honor, can I just have a running

       2   you need -- either one of you objects to it, to tell me what             2    objection to that? First, it calls for a narrative, but

       3   the problem is, and I rule that he can't or can testify                  3    secondly, this has to do with our earlier issue with respect --

       4   depending upon whether the report covered that topic.                    4           THE COURT: He's now explaining the basis for his

       5          Otherwise, we're get -- what we're doing is actually              5    opinion.

       6   letting in the back door hearsay testimony about the other               6           MR. ROBERTSON: I understand, Your Honor.

       7   person's report, and if the Doctor didn't testify to that in             7           THE COURT: Within certain parameters, he can do

       8   court, and he doesn't have any way of knowing what Dr. Weaver            8    that, but if he starts -- you understand the reason why I'm

       9   testified to, he can't be examined about that. So let's don't            9    concerned in this particular case, do you not?

      10   be asking him, anybody about the other expert's report or their          10          MR. McDONALD: I understand you want us --

      11   testimony because they don't know.                                       11          THE COURT: Let me see counsel up here for just a

      12   Q    In your --                                                          12   minute.

      13          THE COURT: There's a way to frame questions that                  13

      14   deal with whatever was said, but that's up to you. You know              14          (Discussion at sidebar as follows:)

      15   how to do that.                                                          15

      16   Q    In your example, Dr. Shamos, regarding your personal                16          THE COURT: My concern is I have excluded a great

      17   address book, if I understood right you are saying your address          17   number of his opinions, and I don't -- unless the questions are

      18   book is not like a published phonebook?                                  18   framed in a way that Mr. Robertson knows what is coming, then I

      19   A   That's right.                                                        19   get confronted with the situation that I have to go back and

      20   Q    Even though -- now, in your example, did some of the data           20   undo, and that creates confusion in the minds of the jury. And

      21   in your address book originate from the phone company's                  21   I believe the expert, just like Dr. Weaver did, has the

      22   published phonebook?                                                     22   opportunity to explain his opinions, but I think other than

      23   A   Yes. That's where phone numbers come from.                           23   just turning him on and turning him loose, if you could keep a

      24   Q    Does that change your answer as to whether your personal            24   handle on it, that will solve that problem. Then if there is

      25   address book is a published phonebook or not?                            25   an objection -- I mean, you've seen this big thing they've




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       1   filed about what opinions are in and what aren't, and in this            1    that these points here satisfy or don't satisfy the Court's

       2   particular case, I think we'll be better able to handle it               2    claims construction of catalog.

       3   without having to undo anything, if, in fact, it needs undoing.          3            THE COURT: I think he can do that point by point.

       4   Do you see what my problem is here?                                      4            MR. McDONALD: At least we have an agreement that as

       5          MR. McDONALD: I do exactly, Your Honor. I'm going                 5    to the slides themselves, we've already agreed.

       6   to give you a little context here. That's one of the reasons             6            THE COURT: Have you?

       7   why we meticulously went through every slide that I'm going to           7            MR. ROBERTSON: Yes.

       8   go through with ePlus's counsel before we got in here. So                8            MR. McDONALD: I'll just try to keep it real tied to

       9   there's no surprises, at least on the slides, so it's really             9    these slides, and that should keep us out of trouble.

      10   going to guide things. This slide, they've approved this                 10           THE COURT: Thank you.

      11   slide, and I'm not touching any slides today they haven't                11

      12   already seen.                                                            12           (End of sidebar discussion.)

      13          MR. ROBERTSON: I understand --                                    13

      14          THE COURT: But you going to have to -- if, in fact,               14           THE COURT: I thought this would make things go a

      15   there's an excursion in an answer you're going to have to stand          15   little better, I think.

      16   up and do something about it immediately. It's impossible for            16   Q    Dr. Shamos, I think we were on the first bullet point

      17   me to undo something once it's been said. That said, I think             17   here. Had you finished talking specific about what the point

      18   it's only fair that an expert have a chance reasonably to                18   was you were making on that first bullet point on slide number

      19   explain his opinion. That's just the way it's been done.                 19   ten that's up on the screen right now?

      20          MR. ROBERTSON: I appreciate that, Your Honor, but I               20   A    I actually thought we were about to do bullet point number

      21   think his opinions still need to stay within the boundaries of           21   four.

      22   the Court's claim construction. They have to be relevant to              22   Q    That shows you how good my memory is. Why don't we zero

      23   the Court's claim construction, and they can't deviate from the          23   in now on bullet point number four, item master is created by

      24   Court's claim construction. So as long as -- I will be                   24   the customer and includes this data. Can you tell how that

      25   objecting if he starts to suggest that your claim construction           25   specific point, sticking with that point, relates to your




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       1   can be satisfied by his, as he just did, essentially rewriting           1    opinion in this case?

       2   it to suit his opinions.                                                 2    A    Yes. Certainly there's information about an item that

       3          THE COURT: You see, he got into distributed in his                3    comes from a vendor. For example, typically the part number of

       4   answer. You didn't ask him --                                            4    the vendor, the number you would use to specify what product it

       5          MR. McDONALD: You said something about emitted or                 5    is you'd like to order, that's created by the vendor. That's

       6   something.                                                               6    part of the vendor's data.

       7          THE COURT: That isn't distributed.                                7        So some of the data that goes into item master does come

       8          MR. McDONALD: With the slides, I'm really trying to               8    directly from a vendor. There's other information that doesn't

       9   get him to stick to his bullet points here --                            9    come directly from a vendor. For example, the way the customer

      10          THE COURT: I know. That's one of the reasons I'm                  10   chooses to describe the product, the name of it, relates to the

      11   saying all this, is if you have control of it, it's easier.              11   terminology that happens to be used in that company. It may

      12          MR. McDONALD: I'll try to focus my questions a                    12   not be the same as the name of the product in the vendor's

      13   little more, but I do have a concern if Mr. Robertson is going           13   catalog, but, undoubtedly, some of the data that's going to end

      14   to say, well, I know the slides, I'm going to keep objecting to          14   up in item master has come from the vendor originally.

      15   what's on the slides, because we had a lot of give-and-take              15   However, it's the vender -- it's the customer that's doing the

      16   over what's in these slides. I don't want him to come in after           16   selection of which pieces of data it chooses to include in item

      17   we've already given up some things and say, okay, now that               17   master.

      18   you've given up your stuff, I'm going to take more away. I               18   Q    You have another slide that goes into that issue in a

      19   think if it's on the slides, we've already agreed to that.               19   little more detail; right?

      20          THE COURT: Mr. Robertson, he says basically you have              20   A    Yes.

      21   agreed that as to the things on the slides, the area of                  21   Q    So for those reasons, your bottom line here is this is why

      22   testimony can be covered; is that true?                                  22   the Lawson item master is not a catalog as the Court has

      23          MR. ROBERTSON: I've agreed that this slide can be                 23   defined that term?

      24   covered. What I didn't like about the question, Your Honor, is           24   A    That's right.

      25   it was give us all the reasons why you are now going to say              25   Q    Let's go to slide number ten now. I'm sorry. Can you




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       1   give me a few other examples of the sort of information that a           1    catalogs?

       2   customer adds to the item master that would not come from a              2          THE WITNESS: No.

       3   vendor?                                                                  3          THE COURT: Or is it not possible for some reason

       4   A   Yes. The customer can add special pricing information, if            4    independent of your view that there's no catalog?

       5   it gets a discount, it adds information about quantity on hand           5          THE WITNESS: Let's assume hypothetically that item

       6   that it may have in its own inventory.                                   6    master were a catalog, or even --

       7   Q   How about approval process, are you aware of whether                 7          THE COURT: Assume that it has catalogs in it.

       8   customers sometimes have information in there about approval             8          THE WITNESS: Let's assume that it has catalogs in it

       9   process?                                                                 9    hypothetically.

      10         MR. ROBERTSON: Objection, relevancy.                               10         THE COURT: Your first element is, it doesn't include

      11         MR. McDONALD: It's just another example of the                     11   a collection of catalogs. What I'm asking you is very simple.

      12   things we've already been talking about.                                 12   Is your opinion on the second point based on the fact that

      13         THE COURT: As I recall it, the software, from the                  13   there's no collection of catalogs, or is it based on some

      14   testimony that your witness has put on, there's a special way            14   independent reason?

      15   to get the customer approval, and that's not being accused in            15         THE WITNESS: It's independent, Your Honor.

      16   the case.                                                                16         THE COURT: Good. Go ahead and explain that then.

      17         MR. McDONALD: I'm talking actually about the                       17   Thank you. I just needed to understand that. So it's the

      18   information in the item master that relates to the approval              18   second reason, all right.

      19   process.                                                                 19   Q   What is the additional reason you are talking about

      20         THE COURT: I see. All right. Overruled.                            20   specific to element B of claim one?

      21   A   I don't have a specific recollection of that.                        21   A   Because even if item master were considered to be a

      22   Q   I think you already talked about the issue of special                22   collection of catalogs, there's no way of selecting less than

      23   pricing. I think we covered that one, didn't we?                         23   all of them. There's no mechanism within S3 to do that.

      24   A   Yes.                                                                 24   Q   Why don't we go to the next slide, please. Here you've

      25   Q   Let's move on then. Do you have an understanding as to               25   got the element that you have labeled C of claim one of the




                                                                             1806                                                                          1808

       1   what ePlus contends is the number of catalogs that would be in           1    '516 patent; right, Dr. Shamos?

       2   a typical Lawson item master or not?                                     2    A   Yes.

       3         MR. ROBERTSON: Objection. There's no contention by                 3    Q   Can you explain to us the reason why you say that element

       4   ePlus as to a typical number of catalogs that can be in item             4    is not satisfied in the Lawson item master -- or the Lawson

       5   master. There's no foundation for that.                                  5    system?

       6         MR. McDONALD: If he doesn't, he doesn't. I guess if                6    A   Yes. The second set of predetermined criteria that really

       7   they're agreeing to that, I guess fine.                                  7    are the searching criteria, what items would I like to find for

       8         THE COURT: It's not a contention, it's not relevant,               8    possible ordering, and there, the reason that element C is not

       9   so I agree with that. It's not been raised in anything that's            9    present, that ties in to element A which is if there's no

      10   come up in the case yet, so I sustain the objection to that.             10   catalog, you can't have predetermined criteria for associated

      11   Q   So in your opinion, Dr. Shamos, is the item master in the            11   with items from the catalog.

      12   Lawson system published by anyone?                                       12   Q   So for this one, you say it's not satisfied because

      13   A   No.                                                                  13   there's no catalogs again?

      14   Q   Let's pick up again and go back to slide 21, please. So              14   A   That's right.

      15   we've talked about '516, claim one, element A so far. Can we             15   Q   Let's move to the next slide. This goes to the fourth

      16   now go to element B, please, and tell us your analysis specific          16   element that you've labeled as D of claim one of the '516

      17   to element B of claim one of the '516 patent?                            17   patent; correct?

      18   A   Yes. Well, element B is a first set of predetermined                 18   A   Yes.

      19   criteria associated with said collection of catalogs. While in           19   Q   Now, this is kind of a longer element that you've got on

      20   the patent, the first set of predetermined criteria are used             20   the slide that fits the black type on your slide; correct?

      21   for selecting less than the entire collection of catalogs, and           21   A   The black type is the remainder of the claim language for

      22   it's not possible to do that in the S3 system, so there aren't           22   element D.

      23   such a set of criteria.                                                  23   Q   So can you summarize for us what your reasoning was

      24         THE COURT: Excuse me just a minute. Is it not                      24   specific to this element? I'm not asking you to read the whole

      25   possible because there's no -- in your view, because there's no          25   element unless it's absolutely necessary, but can you summarize




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       1   whether or not the Lawson accused system satisfies that element          1    that has the same UNSPSC code. So there's no converting that's

       2   of claim nine?                                                           2    going on. There's no matching that goes on with respect to

       3   A   Yes. In order for there to be a second identification                3    UNSPSC codes even though they may be physically present in the

       4   code, there has to be a second catalog, and even if there's one          4    database.

       5   catalog, there weren't two catalogs in S3. So that element               5    Q    You have here, and this is another slide we have up on the

       6   can't be present.                                                        6    screen that you prepared; is that right?

       7   Q    Is there some language in this element about the second             7    A    Yes.

       8   item being, quote, generally equivalent?                                 8    Q    On the last point there, what's the last bullet point?

       9   A   Yes.                                                                 9    Can you explain what you meant by that?

      10   Q    Do you have an opinion as to whether in the Lawson system,          10   A    It's only within RSS, not the totality of the systems that

      11   the Lawson systems accused here, satisfy that part of that               11   are accused. It's only RSS that allows even searching of the

      12   element?                                                                 12   UNSPSC code.

      13   A   There's no notion in the Lawson systems of general                   13   Q    Can we turn to the next slide, please, 31.

      14   equivalents. There's no way to ask the system for a generally            14   A    Yes.

      15   equivalent item.                                                         15   Q    Is this another slide you put together, Dr. Shamos?

      16   Q    Do you have an understanding as to what aspect of the               16   A    Well, I put it together, but literally it's copied out of

      17   Lawson system is dependent in this case to satisfy that part of          17   a white paper that was published explaining what UNSPSC codes

      18   that element?                                                            18   are. So I didn't write the words that are on the slide except

      19   A   Only from expert reports.                                            19   for the title.

      20   Q    Let's go to slide 30 then, if we can turn to that, Bill.            20          THE COURT: In other words, you made the slide.

      21   Dr. Weaver, did you look at --                                           21          THE WITNESS: I made the slide. I had an electronic

      22          MR. ROBERTSON: Dr. Weaver?                                        22   copy of that white paper. I had it on the screen. I used a

      23   A   I am Shamos.                                                         23   photo editor, and I did a screen capture and then cropped it

      24          MR. McDONALD: I made it this far today.                           24   down and stuck it on the slide directly out of that UNSPSC

      25   Q    Dr. Shamos, did you look at all at the issue of whether or          25   white paper.




                                                                             1818                                                                          1820

       1   not in the Lawson system the use of the UNSPSC codes would               1    Q    Can you tell us in a nutshell, Dr. Shamos, what your main

       2   satisfy any claim elements of any of the asserted claims in              2    point was for putting together this particular slide as it

       3   this case relating to generally equivalent items?                        3    relates to your testimony here?

       4   A   Did I look at that?                                                  4    A    Yes. It was to show this eight-digit classification of

       5   Q    What was your conclusion about that?                                5    items and why it's hierarchical. This is the UNSPSC

       6   A   That it doesn't.                                                     6    explanation of what these codes look like. The code, as you

       7   Q    Why not?                                                            7    can see at the bottom where it says pen refills equals UNSPSC

       8   A   So, the UNSPSC code is a generally accepted international            8    classification 44-12-19-03.

       9   coding to categorize products. There's a big difference                  9        The significance of those numbers, 12, 19, and 03, depend

      10   between desks and chairs, and so if you gave a code to desks,            10   on the fact that they are coming from 44. So 44 is office

      11   you could immediately tell that something was a desk and it              11   equipment, accessories, and supplies. Within that, 12 is

      12   wasn't a chair. And it happens to be hierarchically organized.           12   office supplies. Within 12, 19 is ink and led refills, and

      13       That is, it has different levels, so you can get to office           13   within 19, 03 is pen refills. And so what 44-12-19-03 tells

      14   furniture, and then within office furniture you could have               14   you is it's a pen refill.

      15   desks, and then within desks you can desks with drawers or               15       It doesn't tell you what kind of pen, and so if I want to

      16   without drawers, et cetera.                                              16   buy a refill for my pen, it's going to have to have -- if

      17       The Lawson software does provide the ability for a                   17   there's any UNSPSC classification at all, it's going to have to

      18   customer to enter UNSPSC codes into the item master database if          18   have 44, 12, 19, 03, but I can't just buy any pen refill. It

      19   he wants to do that, and sometimes it's useful for people who            19   has to fit in that particular pen. So these UNSPSC codes don't

      20   are ordering things to know what the UNSPSC code is associated           20   describe substitutable or generally equivalent items.

      21   with a particular item, but those UNSPSC codes are not used for          21   Q    Can we turn to the next slide, please, number 32. I think

      22   the purpose of determining whether things are generally                  22   you've essentially already covered the first three bullet

      23   equivalent.                                                              23   points on this slide?

      24       There's no automatic conversion. I can't go and say, if              24   A    Yes, we can go right to number four.

      25   you're out of stock of this product, please give me another one          25   Q    What was your point with bullet point number four?




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       1   and get these binders that you sent up here at the
       2   very beginning, not now, because you-all are both
       3   adopting a new mode, and I need the space to put in
       4   the exhibits that you are using.
       5            I'd like to say that I'd like to commend, and
       6   it's obvious to me there's been some hard work put in
       7   by the legal assistants in this case. There have been
       8   very few problems, and when there have been problems,
       9   they have been solved immediately. And you can't do
      10   that unless you know what you're doing.
      11            And the IT people, I think you-all have done
      12   a fine job, too. Of course, the lawyers. I don't
      13   mean to take anything away from you, but I remember
      14   well who does most of the work.
      15            MR. McDONALD: Your Honor, just one more
      16   thing with respect to that last video that Ms. Huey
      17   would like to offer.
      18            MS. HUGHEY: I'd like to offer it as
      19   Defendant's Exhibit 401.
      20            THE COURT: What is it?
      21            MS. HUGHEY: This is the transcript of what
      22   was read in. My understanding is that
      23   Ms. O'Loughlin's deposition transcript was read in, I
      24   believe, and it will be marked as an exhibit for the
      25   record.




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       1            THE COURT: Any objections? It's admitted.
       2            THE CLERK: What number is that?
       3            THE COURT: 401. Defendant's 401.
       4            (Defendant's Exhibit 401 is admitted into
       5   evidence.)
       6            THE COURT: All right. Anything else anybody
       7   has so we can get ready to go on Tuesday morning?
       8            MR. McDONALD: Nothing else, Your Honor, for
       9   the defense.
      10            THE COURT: All right.
      11            MR. ROBERTSON: Sorry, Your Honor. I didn't
      12   hear you.
      13            THE COURT: I just want to know if there's
      14   anything else so that we can solve it and get going
      15   and actively out of the box at nine o'clock Tuesday
      16   morning.
      17            MR. ROBERTSON: Nothing by the plaintiff.
      18            THE COURT: Okay. That sounds good. All
      19   right.
      20
      21            (The proceedings were adjourned at 5:20 p.m.)
      22
      23
      24
      25




    ePlus - Perfect Commerce (Lawson)                               Unsigned                            Page 2045 - 2046
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                                                                    2532                                                                        2534

       1         IN THE UNITED STATES DISTRICT COURT                                                            2534
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                           1            (The proceedings in this matter commenced at
       2           RICHMOND DIVISION
       3   _________________                                               2    9:15 a.m.)
                                 :
       4   ePLUS, INC.,                 :                                  3            (The jury is not present.)
                                 :                                         4            THE CLERK: Civil Action No. 3:09CV00620,
       5              Plaintiff,    :
            v.                    : Civil Action                           5    ePlus, Incorporated v. Lawson Software, Incorporated.
       6                         : No. 3:09CV620                           6            Mr. Scott L. Robertson, Mr. Craig T. Merritt,
           LAWSON SOFTWARE, INC.,                :
       7                         : January 20, 2011                        7    Ms. Jennifer A. Albert, and Mr. Michael G. Strapp
                      Defendant.      :                                    8    represent the plaintiff. Mr. Daniel W. McDaniel,
       8   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _:
       9                                                                   9    Mr. Dabney J. Carr, IV, Ms. Kirstin L. Stoll-DeBell,
                COMPLETE TRANSCRIPT OF JURY TRIAL
                                                                           10   Mr. William D. Schultz, and Ms. Rachel C. Hughey
      10        BEFORE THE HONORABLE ROBERT E. PAYNE
               UNITED STATES DISTRICT JUDGE, AND A JURY                    11   represent the defendant.
      11
                                                                           12           Are counsel ready to proceed?
      12
      13                                                                   13           MR. ROBERTSON: Yes, Your Honor.
      14   APPEARANCES:
                                                                           14           MR. McDONALD: Yes, Your Honor.
      15   Scott L. Robertson, Esq.
           Jennifer A. Albert, Esq.                                        15           THE COURT: What do you need to see me about?
      16   Michael T. Strapp, Esq.
           GOODWIN PROCTOR                                                 16           MR. McDONALD: I think we worked out all the
      17   901 New York Avenue, NW                                         17   issues on the Hilliard slides. I think the only thing
           Washington, D.C. 20001
      18                                                                   18   that was outstanding was these jury questions.
      19   Craig T. Merritt, Esq.                                          19           MR. ROBERTSON: There is also --
           CHRISTIAN & BARTON
      20   909 E. Main Street, Suite 1200                                  20           THE COURT: I don't need the jury questions,
           Richmond, VA 23219-3095                                         21   to deal with them now.
      21
                Counsel for the plaintiff ePlus                            22           MR. ROBERTSON: All right.
      22
                                                                           23           THE COURT: Oh, the questions raised by the
      23
      24            DIANE J. DAFFRON, RPR                                  24   jury. Oh, yes. What do you want to do about the
                    OFFICIAL COURT REPORTER
                                                                           25   questions? Where is that thing that was submitted
      25           UNITED STATES DISTRICT COURT



                                                                    2533                                                                        2535

                                           2533                                                                 2535
       1   APPEARANCES: (Continuing)                                       1    yesterday? Court Exhibit 4.
       2   Daniel W. McDonald, Esq.
                                                                           2            Are P.O. Writer and J-CON patented, if so,
           Kirstin L. Stoll-DeBell, Esq.
       3   William D. Schultz, Esq.                                        3    when? Didn't Dr. Staats say that it was within a
           Rachel C. Hughey, Esq.                                          4    year?
       4   MERCHANT & GOULD
                                                                           5            Basically, what he said is for them to
           3200 IDS Center
       5   80 South Eighth Street                                          6    remember. So was the J-CON system only used for
           Minneapolis, MN 55402-2215                                      7    automotive purposes and couldn't be used, all that big
       6
                                                                           8    long text is something he testified to or didn't, and
       7   Dabney J. Carr, IV, Esq.
           TROUTMAN SANDERS                                                9    they'll have to remember that testimony. And you-all
       8   Troutman Sanders Building                                       10   will address it in argument; is that right?
           1001 Haxall Point
                                                                           11           MR. McDONALD: I think that's fair, Your
       9   P.O. Box 1122
                                                                           12   Honor.
           Richmond, VA 23218-1122
      10                                                                   13           MR. ROBERTSON: Your Honor, I think the real
                Counsel for the defendant Lawson Software.                 14   response, what I would suggest, Your Honor, is that
      11
                                                                           15   just you need not concern yourself with it. Whether
      12
      13                                                                   16   the J-CON system addressed auto parts or medical
      14                                                                   17   systems, the J-CON system is not prior art in this
      15
                                                                           18   case, and that's why they don't need to consider it.
      16
      17                                                                   19   Dr. Shamos didn't over any opinions with respect to it
      18                                                                   20   and I think this is just ripe for confusion if we say
      19
                                                                           21   it had some significance.
      20
      21                                                                   22           The same thing with were P.O. Writer and
      22                                                                   23   J-CON patented. That's evidence of some confusion on
      23                                                                   24   the part of the jury. First of all, they need not
      24
                                                                           25   concern themselves with whether J-CON or P.O. Writer
      25




    ePlus - Perfect Commerce (Lawson)                              Unsigned                                                         Page 2532 - 2535
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                                                                              2660                                                                          2662

           Hilliard - Direct                          2660                                Hilliard - Direct                              2662
       1   retained as a consultant?                                                 1    type, information technology related cases. Most of them
       2   A   Certainly. Most of the work I've done as a consultant is              2    settle, of course, before they go to trial, and if they don't
       3   work where I've been retained by a business that is looking               3    go to trial, I don't get qualified, but I've been qualified in
       4   either to upgrade from an existing computer system to a newer             4    both federal and state courts, and I believe four states around
       5   computer system to handle their business applications, or in              5    the country and in five different federal courts from Arizona
       6   some cases where they were acquiring a system for the first               6    and New Mexico to Virginia.
       7   time, and I'm not talking necessarily about a PC and some                 7             MR. McDONALD: Your Honor, I think he's answered the
       8   shrinkwrapped software, but these are the multi user systems              8    question on this point, and maybe we can go on to the next
       9   running from tens of thousands up to millions of dollars for              9    question.
      10   the hardware, the software, and the implementation services.              10   Q    Have you ever testified in a case involving a system
      11       I've also been retained on projects where there were                  11   having procurement functionality?
      12   information technology issues or questions that the company               12   A   Several, including one in New Mexico, and, of course, I
      13   needed to have answered or resolved, sometimes with regard to             13   was involved as an expert in the ePlus v. SAP case here in
      14   putting together requirements for IT personnel, sometimes                 14   Virginia back a few years ago.
      15   interviewing, helping them interview IT personnel, that sort of           15   Q    Was that a patent case?
      16   thing. But mostly on systems, acquisitions either for upgrades            16   A   Yes, it was.
      17   or for systems.                                                           17   Q    Did that involve the same patents as the patents-in-suit
      18   Q    Have any of these consulting engagements involved systems            18   here?
      19   having procurement functionality?                                         19   A   Yes, it does.
      20   A   Almost all of them. Starting -- I actually started my                 20   Q    Have you written any books or had any articles published?
      21   business, Business Automation, the consulting firm, in 1980               21   A   Both. I wrote a book called Buying a Computer For Your
      22   with the idea that the consulting services would be my primary            22   Growing Business, an Insider's Guide, which was published by
      23   business.                                                                 23   Dow Jones Irwin in 1984, and I've had various articles
      24       I've done over 200 of the projects, and in the early 1980s            24   published over the years on IT-related topics.
      25   was before systems were called enterprise resource planning, or           25       The most recent one was on computer forensics in a legal




                                                                              2661                                                                          2663

           Hilliard - Direct                          2661                                Hilliard - Direct                              2663
       1   NRP, but most of my clients were looking for systems that are             1    magazine called For the Defense.
       2   what today we would call these large ERP type systems where               2    Q    Have you been retained for professional speaking
       3   they encompass the entire breadth of functionality that a                 3    engagements?
       4   business would need. In almost every case, procurement, the               4    A   Yes, I have. I've been retained by a number of trade
       5   purchasing was a part of the application, and in many of the              5    associations and professional associations in the United
       6   cases the key part.                                                       6    States, and recently I was retained to go to France to speak to
       7   Q    What are a few of the companies that you consulted for?              7    a group of IT-related expert witnesses in Paris.
       8   A   I have consulted for companies all over the country,                  8    Q    Based on your education and your 40 years of experience in
       9   Stewart Stamping in New York; Insilco Technologies in North               9    the area of computer technology, what do you consider to be
      10   Carolina; Aircraft Gear Corporation, a supplier to Boeing in              10   your fields of expertise?
      11   the Phoenix area; Phoenix Transit, the bus company in the                 11   A   My fields of expertise are the acquisition,
      12   Phoenix area; Schatz Industries in the Phoenix area; Atlas                12   implementation, function, and issues related to usage of
      13   Roofing in Alabama, manufactures roofing materials;                       13   business computer systems or computer systems used for business
      14   manufacturing companies in Idaho; Dowdy Aircraft in St. Louis;            14   applications including applications such as purchasing,
      15   a wide variety of companies, many of them in distribution and             15   inventory management, sales, accounting, and so forth.
      16   manufacturing, although I've also worked for publishers such as           16            MS. ALBERT: Your Honor, at this time I would offer
      17   Taylor Publishing in Texas, New Times Publishing in Phoenix,              17   Mr. Hilliard as an expert in the area of the use of computer
      18   Arizona, worked for professional organizations, CPA firms,                18   systems for business functions including procurement and
      19   medical practices, and so forth. So a wide variety of                     19   related activities.
      20   industries.                                                               20            THE COURT: Any objection?
      21   Q    Have you ever been qualified as an expert witness in the             21            MR. McDONALD: No objection.
      22   field of computer systems and software in prior cases?                    22            THE COURT: He is so qualified as an expert in those
      23   A   Yes.                                                                  23   areas.
      24   Q    On how many occasions roughly?                                       24   Q    Mr. Hilliard, were you retained by counsel for ePlus to
      25   A   I've been engaged in over a hundred engagements of this               25   provide expert opinions concerning the issues of validity of




    ePlus - Perfect Commerce (Lawson)                                        Unsigned                                                         Page 2660 - 2663
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                                                                                  2664                                                                          2666

           Hilliard - Direct                               2664                               Hilliard - Direct                             2666
       1   the ePlus patents?                                                            1    Q    Did you also have an opportunity to review the Court's
       2   A   Yes.                                                                      2    order concerning the construction of the key terms used in the
       3   Q    In the course of your engagement, have you reviewed and                  3    patent claims?
       4   responded to opinions that were rendered by Lawson's expert,                  4    A   Yes.
       5   Dr. Shamos?                                                                   5    Q    Did you take the Court's claim constructions into account
       6   A   Yes.                                                                      6    in rendering your opinions?
       7   Q    In general, what did you do to prepare your response to                  7    A   Yes. They were a foundation.
       8   Dr. Shamos's opinions?                                                        8    Q    Now, turning to some of Lawson's contentions that are at
       9   A   Well, of course I read his opinions, and I reviewed all                   9    issue here, are you aware that Lawson has alleged that several
      10   the documents that he had referenced in his opinions. I                       10   systems were in public use prior to the relevant August 1994
      11   also -- there are a large volume of documents that have been                  11   filing date of the ePlus patents?
      12   produced in this case, and I've read through, I think, all of                 12   A   I'm aware of that, yes.
      13   those that relate to the validity of the patents.                             13   Q    And what types of evidence do you consider to be relevant
      14       I've also reviewed the testimony, the deposition testimony                14   to your analysis of this issue of public use?
      15   of the inventors and those with knowledge of some of the                      15   A   My -- when I look at this, I have to look at what evidence
      16   alleged prior art systems. I've also reviewed testimony from                  16   is there in documentary form primarily to determine whether the
      17   the SAP trial of those same individuals.                                      17   dates of the document can corroborate that the allegedly in-use
      18   Q    Did you review the patents that are at issue here in the                 18   system was in use and performing the functions that it's
      19   file histories relating to their prosecution before the Patent                19   claimed to perform, i.e., the functions in the claims before
      20   Office?                                                                       20   August of 1994.
      21   A   I did. Both the patents at issue, and there are some                      21       So I look for hard written documentation that has a dating
      22   patents referenced that I reviewed in some detail.                            22   on it that shows that it existed prior to 1994. I also
      23   Q    Did you review Dr. Shamos's expert report?                               23   consider other evidence, but other evidence needs to be
      24   A   Yes, I did.                                                               24   corroborated, in my view, with documentary evidence.
      25   Q    Were you provided with an understanding of the applicable                25          MR. McDONALD: Object, Your Honor, to the witness's




                                                                                  2665                                                                          2667

           Hilliard - Direct                               2665                               Hilliard - Direct                             2667
       1   legal principles that govern your analyses?                                   1    explanation of corroborating. His own personal standard isn't
       2   A   Yes, I was.                                                               2    appropriate or relevant here.
       3   Q    Did you have an opportunity to personally review and use                 3           THE COURT: What do you say?
       4   any of the alleged prior art systems?                                         4           MS. ALBERT: It's relevant to his analysis of what he
       5   A   Well, I have had that experience with the PO Writer system                5    considered for purposes of trying to determine and render
       6   during the SAP trial. SAP was able to produce a copy of that                  6    opinions on whether systems were allegedly in public use.
       7   software, and I was able to experiment with it, exercise it,                  7           THE COURT: I'll tell you about corroboration in
       8   and determine how it functioned. I did so prior to that trial,                8    connection with the public use, and so I'll give you the
       9   and I also did so in court during that trial.                                 9    instruction, ladies and gentlemen. He was just explaining why
      10   Q    Did you review file listings relating to the computer code               10   it is that he confined his -- that he focused principally on
      11   for that system?                                                              11   documentary evidence.
      12   A   I did.                                                                    12   Q    Now, Mr. Hilliard, are you -- in rendering your opinions
      13   Q    And do you recall any relevant information about the dates               13   concerning the validity of ePlus's patents, are you aware that
      14   that were included in those file listings?                                    14   Lawson has alleged that each of the asserted claims at issue
      15   A   Yes. The dates included both dates preceding and dates                    15   here are invalid as being anticipated by the RIMS system as
      16   following August of 1994.                                                     16   described in the '989 patent?
      17          MR. McDONALD: I'll object, Your Honor, as irrelevant                   17   A   I'm aware that's their contention, yes.
      18   and confusing. We haven't proffered any, and he's talking                     18   Q    Do you agree with those allegations?
      19   about dates of things that weren't in evidence in this case.                  19   A   No, I don't.
      20          MS. ALBERT: I'll move on.                                              20   Q    Why do you disagree with that?
      21          THE COURT: I think he's just relating what he did                      21          MR. McDONALD: Your Honor, I don't think we went into
      22   and his familiarity with the systems at issue.                                22   the anticipation of RIMS in terms of Dr. Shamos's opinion. I
      23   Q    Did you have the opportunity to review the validity report               23   thought we already went into it --
      24   submitted by ePlus's other technical expert, Dr. Alfred Weaver?               24          THE COURT: I lost what you were saying.
      25   A   Yes, I did.                                                               25          MR. McDONALD: Dr. Shamos's testimony was focused on




    ePlus - Perfect Commerce (Lawson)                                            Unsigned                                                       Page 2664 - 2667
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                                                    2796
       1   your closing arguments.
       2         MR. McDONALD: I would expect that.
       3         THE COURT: I don't want any problems on Monday
       4   morning, so I want you all to show those demonstratives to each
       5   other. Are they ready now?
       6         MR. ROBERTSON: I would suggest we schedule a meeting
       7   sometime together Sunday and iron it all out.
       8         MR. McDONALD: I think we can try to come up with a
       9   time to exchange, maybe Sunday morning, 9:00 a.m.
      10         THE COURT: All right. That's fine. Okay. That's
      11   it then, is it? All right. We'll be in adjournment.
      12
      13         (Court adjourned.)
      14
      15
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      25




    ePlus - Perfect Commerce (Lawson)                                        Unsigned                                Page 2796
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                                                                                 2011.01.24 Trial Transcript Day 13 1/24/2011 2:45:00 PM
                                                                                  3078                                                                          3080

       1         IN THE UNITED STATES DISTRICT COURT                                     1                 PROCEEDINGS
       2         FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                         2
       3              RICHMOND DIVISION
       4                                                                                 3           THE CLERK: Civil action number 3:09CV00620, ePlus,
       5   --------------------------------------
                                                                                         4    Incorporated versus Lawson Software, Incorporated. Mr. Scott
                                           :
       6    ePLUS, INC.                           : Civil Action No.                     5    L. Robertson, Mr. Craig T. Merritt, Ms. Jennifer A. Albert, and
                                           : 3:09CV620
                                                                                         6    Mr. Michael G. Strapp represent the plaintiff.
       7    vs.                              :
                                           :                                             7           Mr. Daniel W. McDonald, Mr. Dabney J. Carr, IV, Ms.
       8    LAWSON SOFTWARE, INC.                           : January 24, 2011
                                                                                         8    Kirstin L. Stoll-DeBell, Mr. William D. Schultz represent the
                                           :
       9   --------------------------------------                                        9    defendant. Are counsel ready to proceed?
      10
      11          COMPLETE TRANSCRIPT OF THE JURY TRIAL                                  10          MR. ROBERTSON: Yes, Your Honor.
      12           BEFORE THE HONORABLE ROBERT E. PAYNE                                  11          MR. McDONALD: Yes, Your Honor.
      13          UNITED STATES DISTRICT JUDGE, AND A JURY
      14                                                                                 12          THE COURT: All right. I was very sorry to hear
           APPEARANCES:                                                                  13   about Ms. Albert's father passing away. You all both wrote
      15
           Scott L. Robertson, Esquire                                                   14   letters about it. I don't see the point in bringing that to
      16   Michael G. Strapp, Esquire                                                    15   the attention the jury. Do either one of you?
           David M. Young, Esquire
      17   Goodwin Procter, LLP                                                          16          In the old days, when people didn't do what they were
           901 New York Avenue NW                                                        17   supposed to do, they got keelhauled. I'm about ready to
      18   Suite 900
           Washington, D.C. 20001                                                        18   institute that procedure here. It's time for the jury to get
      19                                                                                 19   going, and I've had to read all this stuff now. I told you
           Craig T. Merritt, Esquire
      20   Christian & Barton, LLP                                                       20   what to do about this verdict form, and it was pretty easy, and
           909 East Main Street                                                          21   it's unnecessary to go through all this stuff.
      21   Suite 1200
           Richmond, Virginia 23219-3095                                                 22          Now, apparently we're going to have to revise it
      22   Counsel for the plaintiff
                                                                                         23   anyway because -- and some of the instructions. What
      23
      24               Peppy Peterson, RPR                                               24   instructions have to be revised because Lawson is not
                     Official Court Reporter
                                                                                         25   contending that the RIMS brochure is prior art? Which one is
      25            United States District Court



                                                                                  3079                                                                          3081

       1   APPEARANCES: (cont'g)                                                         1    arguing?
       2   Dabney J. Carr, IV, Esquire                                                   2           MR. YOUNG: Your Honor, David Young for ePlus. It's
           Troutman Sanders, LLP
                                                                                         3    instruction 3-A that was submitted to the Court over the
       3   Troutman Sanders Building
                                                                                         4    weekend. It lists as I think reference number three, RIMS
           1001 Haxall Point
       4   Richmond, Virginia 23219                                                      5    brochure, and that would have to come out now because it

       5   Daniel W. McDonald, Esquire                                                   6    appears that Lawson does not have that as an anticipated
           Kirstin L. Stoll-DeBell, Esquire                                              7    reference on its own verdict form.
       6   William D. Schultz, Esquire
                                                                                         8           THE COURT: Is that right?
           Merchant & Gould, PC
                                                                                         9           MR. McDONALD: Yes, that's right, Your Honor.
       7   80 South Eighth Street
           Suite 3200                                                                    10          THE COURT: So I suppose I need to tell the jury

       8   Minneapolis, Minnesota 55402                                                  11   simply to disregard any testimony about the RIMS brochure as
       9                                                                                 12   prior art.
      10
                                                                                         13          MR. McDONALD: No, it not anticipatory prior art
      11
                                                                                         14   meaning it's not all by itself anticipating a claim. We're
      12
      13                                                                                 15   still using it for obviousness and support for the on sale, the

      14                                                                                 16   RIMS as prior art and 102(a) and (b), but the brochure, all by
      15                                                                                 17   itself, we're not contending is an anticipating reference, but
      16
                                                                                         18   it would be used to support number one in the instruction which
      17
                                                                                         19   is the Fisher RIMS system as prior art.
      18
      19                                                                                 20          THE COURT: What do you mean, to be used to support?

      20                                                                                 21   If you're going to use it --
      21                                                                                 22          MR. McDONALD: It's evidence of the Fisher RIMS
      22
                                                                                         23   system as it was being sold and --
      23
                                                                                         24          THE COURT: Well, if it's evidence of it, it comes
      24
      25                                                                                 25   out of 39, too, because you're not contending that it is




    ePlus - Perfect Commerce (Lawson)                                             Unsigned                                                       Page 3078 - 3081
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       1   obvious.                                                                  1           THE COURT: All right, so your form has already made

       2          MR. McDONALD: So we're saying it is a printed                      2    that edit.

       3   publication and still in it's own right is prior art, but it              3           MR. YOUNG: Correct, and I believe Lawson's as well.

       4   doesn't all by itself anticipate the claims. It can be used               4           THE COURT: All right. Take all the certificate of

       5   for the obviousness defense. So it is a piece of prior art.               5    service and all of that stuff off of it, and we'll have a clean

       6   It just doesn't anticipate the claims all by itself.                      6    form for the jury.

       7          THE COURT: Anything? Is that the only modification?                7           MR. YOUNG: I actually do have some copies of that.

       8          MR. YOUNG: Your Honor, it is listed on the Lawson                  8           THE COURT: Can I have it? I believe that the Lawson

       9   verdict form, so --                                                       9    form is -- ePlus form is somewhat cumbersome. The Lawson form

      10          THE COURT: I'm talking about the instructions right                10   is confusing, and I think cumbersome is better than confusion.

      11   now. That's the only change in the instructions.                          11          These motions that have been filed, judgment as a

      12          MR. YOUNG: Yes, yes.                                               12   matter of law, that's what you argued the other day, right?

      13          THE COURT: I've prepared an instruction on                         13   The motion on 103 is what you argued the other day.

      14   incorporation by reference that says incorporation by reference           14          MS. STOLL-DeBELL: Yes, sir.

      15   is a phrase that allows a patent applicant to make another                15          THE COURT: I don't need to deal with that to get

      16   document become part of the patent application in such a manner           16   ready for the jury. Are we ready for the jury?

      17   that the incorporated document can be considered to be part of            17          MR. ROBERTSON: Yes, Your Honor.

      18   the patent application just as if the incorporated document had           18          MR. McDONALD: Yes, Your Honor.

      19   been fully set out in the patent application.                             19          THE COURT: All right.

      20          I believe that that is a slight modification from the              20          MR. ROBERTSON: Just to be clear, Your Honor, I'll go

      21   ePlus system -- I mean from the ePlus proposal because it got             21   first and address the infringement issues, and then Mr.

      22   into whether the examiner considered it and all of that, and              22   McDonald goes and addresses both, his non-infringement

      23   that's not necessary, but I think this instruction is accurate.           23   arguments and invalidity, and I have rebuttal. Is that your

      24   Does anyone disagree with that?                                           24   understanding?

      25          MR. McDONALD: We have no objection to that, Your                   25          THE COURT: Yes. That's what we said.




                                                                              3083                                                                          3085

       1   Honor.                                                                    1           MR. McDONALD: May I ask how much time we should each

       2          MR. YOUNG: We have no objection to it, Your Honor.                 2    expect and how much he's reserving for rebuttal?

       3          THE COURT: All right. I'll make that then -- where                 3           MR. ROBERTSON: I expect that my opening argument

       4   should that go? Let's make it 30-B.                                       4    will be approximately an hour long, and my rebuttal would be

       5          MR. YOUNG: I think that would be fine, Your Honor.                 5    about half an hour to 40 minutes. I'm going to try do this as

       6          MR. McDONALD: I'm not sure it goes into the prior                  6    quickly and efficiently as I can.

       7   art invalidity section, Your Honor. I think it's more about               7

       8   what the patent is, so I would suggest it go earlier.                     8                   (Jury in.)

       9          MR. YOUNG: Your Honor, I think it's directly                       9

      10   relevant to the prior art issues in the case given the context            10          THE COURT: Good morning ladies and gentlemen. Now

      11   in which --                                                               11   we've reached the point in the trial where all the evidence is

      12          THE COURT: Given your argument, it seems to me as if               12   in, and the lawyers now have a chance to make their closing

      13   it goes right where I put it. I've reviewed the verdict forms,            13   arguments, and in those closing arguments, what they will be

      14   and I think the preferable verdict forms are as ePlus has put             14   doing is reciting to you what they think the evidence shows and

      15   them, but how does it have to be changed?                                 15   explaining to you what they think the evidence proves.

      16          MR. YOUNG: I'm sorry, Your Honor. I didn't hear the                16          And they will try to explain to you why they think

      17   last point.                                                               17   you should return a verdict in favor of their respective

      18          THE COURT: You said the verdict form had to be                     18   clients, and that's important because it will help you

      19   changed. How does it have to be changed?                                  19   understand each side of the case and the positions they are

      20          MR. YOUNG: I don't think the verdict form from our                 20   taking and what you have to decide. But remember, what they

      21   proposal does need to be changed. It was the jury instruction             21   say in these closing arguments is not the evidence. The

      22   30-A that needed to be changed to eliminate the RIMS brochure.            22   evidence came from the things that have been admitted into

      23          Neither party's proposal for the verdict form last                 23   evidence which you will have back with you.

      24   night included the RIMS brochure as an anticipated reference,             24          You'll have a computer back there that is set so that

      25   so I don't think that aspect needs to be changed.                         25   you can run one piece of the evidence which was the




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       1   choice. And that doesn't stop ePlus from going to the            1    preferably, right? Then a textual description of

       2   Patent Office, but it is true and the Judge will                 2    items and preferably, not necessarily, images of the

       3   instruct you that even if a product isn't the subject            3    items.

       4   of a patent like TV/2, if it's on sale more than a               4          So that meets the definition of a catalog

       5   year before the filing date of the ePlus patent, it's            5    pretty well. That holds up with your common sense.

       6   still prior art. EPlus can't go get a patent on that             6    And it's pretty consistent if we go to slide 48, I

       7   same thing. So that's how it works. So that's why                7    think it is. Even what the patent says about

       8   the Patent Office doesn't always have all the details            8    catalogs. This is a feature of the invention to have

       9   about what everybody is doing out there.                         9    multiple catalogs from different suppliers. And it

      10            So that's why because you have this critical            10   gives these examples. And I'll summarize it here, but

      11   information here in the courtroom that the Patent                11   basically it talks about published by a vendor,

      12   Office didn't get why you should reach a different               12   distributor, having the distributor's catalog numbers

      13   conclusion from the Patent Office. So that's why you             13   for their listed products. And also vendor

      14   should decide that the claims are invalid.                       14   manufacturer part numbers. Down at the bottom, line

      15            Let's go down to question No. 3 about                   15   52 there, it further contained catalogs published by

      16   infringement. We made it pretty clear from the first             16   some of the vendor manufacturers. Again having part

      17   moment in this case that this issue came down to the             17   numbers and the like.

      18   catalogs issue.                                                  18         Then if you go down to about line 56. It can

      19            And if we could go to 45F. Mr. Weaver at                19   also contain catalogs published by outside suppliers,

      20   least acknowledged that 11 of the 12 claims in this              20   other manufacturers, distributors listing their vendor

      21   case required not just one catalog, but multiple                 21   products different from those in the distributor

      22   catalogs in the Lawson system. So if Lawson doesn't              22   catalog. So these are all these different published

      23   have multiple catalogs, Lawson at least does not                 23   things out there.

      24   infringe those 11 claims. We're all on the same page             24         So if we go back to 46. So that was the

      25   on that. That's why we didn't waste your time on all             25   Court's definition of "catalog." Very consistent with




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       1   these other deals in the case, why it really came down           1    what the patent says. What about that last claim?

       2   to the catalogs.                                                 2    I'll just talk about that a little bit. That 12th

       3            And if we go to the slide 46, this was the              3    claim. That's Claim 1 of the '172 patent.

       4   Court's definition of catalogs. It has the term                  4          Now, that claim has a claim element that

       5   published by a vendor in it, and the Court also has an           5    refers to something called an order list. So I want

       6   instruction for you on that.                                     6    to show you the Court's definition of that in slide

       7            And we showed you here, this is Exhibit 257,            7    49. So even that claim requires a means for

       8   it's a demonstrative, but it's nothing of the sort you           8    generating an order list, which is a list of desired

       9   haven't seen before. It's one of these big catalogs.             9    catalog items. So here's where that concept of

      10   We don't get them in the mail so much anymore, but we            10   catalog comes into play here.

      11   used to. And something like this pretty clearly meets            11         And if we look at slide 49A, Dr. Weaver, his

      12   that Court definition. You can apply this pretty                 12   analysis was entirely reliant on his opinion that the

      13   well. It's an organized collection. You have got the             13   Lawson system had catalogs in it. And that even

      14   ladies clothes at the beginning. Then it goes to kids            14   included this claim.

      15   and boots and shoes and so on, product by product                15         And if we could go to the next slide here.

      16   organized. It's about items. Things Sears is selling             16   This was Dr. Weaver's testimony specific to that Claim

      17   with associated information. Published by Sears.                 17   1 of the '172 patent. It's kind of a long question

      18   They are a seller, a distributor, whatever you want to           18   here, but what's being shown here is his opinion about

      19   call it. Includes things like a part number, price,              19   Lawson infringing that claim, and specifically the

      20   catalog number, vendor name. Sears is on the front.              20   part of that claim that refers to an order list, that

      21   It may not be on every page, but certainly on the                21   was based in part on his analysis concluding that the

      22   front.                                                           22   desired items - do you remember an order list is a

      23            I don't know if it has a vendor ID, but this            23   list of desired catalog items - included in results of

      24   list isn't something that's required that you have to            24   searches of product catalogs, and that's what he

      25   have all of these. That's why it has the word                    25   called catalog items. That's how he looked at it for




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       1   purposes of his analysis. The items you get back from            1    the Court has defined it.

       2   product catalogs. So he relied on his analysis                   2          So Dr. Weaver never showed either a single

       3   involving catalogs actually for all 12 of the claims.            3    vendor catalog that actually came from a vendor and

       4         So we showed you the testimony of Mr. Shamos,              4    said, Oh, look. Here's one of those vendor catalogs

       5   though, that the Lawson system doesn't have catalogs             5    that comes from somebody selling products to a Lawson

       6   and therefore it doesn't infringe any of the 12                  6    customer and compare that now to the item master. Oh,

       7   claims. It's completely different from all that. And             7    look, they look similar, don't they? Dr. Weaver never

       8   to illustrate what the Lawson system really is here,             8    did that.

       9   I'm going to show you something. This is from                    9          The reason he didn't do that is because he

      10   Plaintiff's Exhibit 361, page 49 of that exhibit, page           10   wouldn't have been able to show that that comparison

      11   2243. The last four digits are 2243. Do you remember             11   would hold any water.

      12   Mr. Weaver showed you some demonstrations.                       12         So they talk about what Dr. Weaver did do,

      13         This particular one he didn't talk about. He               13   but it's what Dr. Weaver did not do that's the most

      14   didn't present this one to you. In fact, we talked               14   important thing here.

      15   about it, and this has something called an active                15         And they didn't do that even though they

      16   items at requesting location list. This is about the             16   picked four of our customers to give them information

      17   closest thing in any of ePlus' materials of showing              17   about who our customers are. They picked four of them

      18   you what an item master in the Lawson system actually            18   to depose and subpoena. And you heard from -- I think

      19   looks like.                                                      19   you heard from three of them in the case as it wound

      20         It's this list of products. At the far left                20   up. Mr. Yuhasz was live, Mr. Matias and Ms. Cimino.

      21   is an item number. That's the number that the                    21   Those are our customers that they picked. They didn't

      22   customer assigns. The first one is 1007, 1008, 1009.             22   show you anything in those depositions or documents

      23   The customer puts those in there in the order that the           23   that would show catalogs.

      24   customer enters those item numbers. They have some               24         If we could go to slide No. 51. Actually,

      25   descriptions of the products there. You see tape.                25   let's go to 52. So Lawson doesn't infringe these




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       1   Then it goes to steri strips. I guess that's some                1    patents because it doesn't have multiple catalogs. It

       2   sort of a bandage, and so on.                                    2    doesn't have published catalogs. It doesn't have

       3         These are these very short descriptions that               3    catalogs published by inventors. We've got very basic

       4   are only 30 characters or less. So you can see how               4    information.

       5   abbreviated they are. And you heard the testimony                5          The whole purpose of an item master is

       6   that those are the things the customer comes up with.            6    different from the purpose of catalogs. Catalogs are

       7   And they're not trying to sell anything here. They're            7    from vendors to sell things. The item master is to

       8   not trying to give you a big description to entice you           8    track personal customer's private inventory. Short

       9   to buy anything. They're just reminding themselves               9    descriptions selected by the customers. It's an

      10   which one that is because this is the thing they buy             10   inventory list like a shopping list just trying to

      11   over and over.                                                   11   keep track of what they've got in stock. Also control

      12         Over on the far right it talk about that                   12   what their employees can buy. That's a big thing here

      13   being tracked. That's their inventory. This is their             13   in comparison and contrast to catalogs.

      14   own personal inventory. Yes, we track it. Yes, we                14         You heard Mr. Robertson talk about comparison

      15   monitor our inventory on this thing. This is the                 15   shopping. That's the intent of these patents. Let's

      16   closest thing that ePlus had to show you what the item           16   the employees go out there and maybe do some shopping

      17   master actually looks like. And they have never                  17   and things. And that might be good in some

      18   linked this or anything else to a published vendor               18   situations. If some customers want to do that, that's

      19   catalog. It doesn't look like it, and it's from the              19   fine. But for some companies, they would say, I don't

      20   customer. This is an organized collection of                     20   want my employees doing that. I just want them to go

      21   information, yes, but it's the customer who organized            21   buy the pens. I don't want them out there shopping

      22   it. The vendor never even sees this.                             22   around looking for new pens that are different or more

      23         So how could the vendor publish this? An                   23   expensive or whatever and wasting time on that.

      24   organized collection. And that's what has to be                  24         The Lawson system is all about control. The

      25   catalogs here. It just doesn't look like a catalog as            25   patented system a all about empowerment of the




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       1   customers. Two very different purposes here.                    1          Again, the parts master, that's the same sort

       2         So let's go to the evidence now on the issue              2    of thing as an item master, correct? Yes.

       3   of the catalogs. The testimony showed that Lawson               3          Mr. Momyer. If we go to the next slide.

       4   doesn't have catalogs.                                          4    Again, reinforcing that that RIMS system as of

       5         Can we go to slide 53, I think it is. This                5    April '93 had that parts master. That would not meet

       6   is Mr. Christopherson's testimony here. Using the               6    the Court's definition of a catalog, Mr. Momyer's

       7   definition the Court just gave for published by a               7    testimony.

       8   vendor, is the customer's item master database ever             8          THE COURT: It says Mr. Kinross.

       9   published by a vendor? The Judge said just answer it            9          MR. McDONALD: I'm sorry. Is that Kinross?

      10   yes or no. Mr. Christopherson then answered no. So              10   You're right. It's Mr. Kinross. Thank you.

      11   Lawson people showing that the item master is not a             11         Then go to the next slide. So we're back to

      12   catalog as the Court defined it. Customer testimony             12   Mr. Momyer again here. This is confirming that that

      13   is well.                                                        13   parts master in the RIMS system, that's parts that a

      14         If we go to 55. This is Mr. Yuhasz. He was                14   customer would select, just like in the Lawson item

      15   the customer that showed up in court here. He was               15   master. That's what they would track for their

      16   nice enough to do that from Novant. Is this data in             16   stockroom or inventory. Just like the Lawson item

      17   Novant item master generally known? No.                         17   master.

      18         Is the item master data maintained as                     18         Go to the next slide. This is the third

      19   private? Yes.                                                   19   inventor who testified, Mr. Johnson, now. Again

      20         And the supporting differences here from the              20   acknowledging the RIMS system had a parts master, but

      21   published catalog. If we go to the next slide, 56.              21   he didn't think that it had a catalog, though.

      22   Mr. Yuhasz actually explained that they already had             22         Then if we go to the next slide. This is

      23   the Lawson system that's accused of infringement in             23   Mr. Hilliard, their invalidity expert. Of course he's

      24   this case with the requisition and purchase order and           24   Mr. No. This was an easy quote to find because

      25   inventory control modules, but they were looking for            25   nothing was a catalog for him. But he acknowledged




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       1   the ability to have what he called a better option              1    here with the Court's definition of catalogs that

       2   that we felt had product catalogs. They wanted to be            2    there were no databases in the RIMS system that met

       3   able to search for more things.                                 3    the Court's definition of catalogs.

       4         They wanted something different from what                 4          So you have all of these Lawson witnesses,

       5   Lawson had. Were these features as the Lawson system            5    all the inventors, even one of ePlus' experts

       6   as it was installed at Novant did not provide? Yes.             6    acknowledging that a parts master, which was just like

       7         Here's his testimony that he, having one of               7    an item master, doesn't meet the definition even for

       8   the accused systems, didn't think it had product                8    one catalog, let alone multiple catalogs.

       9   catalogs. He was actually putting it out for bid. He            9          So who was the only witness in this case who

      10   was willing to write another check for somebody else            10   said Lawson's item master was multiple catalogs? It

      11   to go in and add that capability. Well, there's some            11   was Dr. Weaver. Dr. Weaver's approach, just about any

      12   real world market information for you that really               12   list of item information is not only a catalog, it's

      13   shows why the Lawson system doesn't have catalogs.              13   actually multiple catalogs. That's incredible. It

      14         If we could go to the next slide. This is                 14   defies common sense. And we went through that with

      15   the inventor testimony. They didn't talk about the              15   him in a couple of ways.

      16   Lawson system, but they did talk about the parts                16         If we go to the slide 63. Remember, I asked

      17   master that they acknowledge was like an item master.           17   him, because he was saying that as long as the

      18         This again relates to the have your cake and              18   information originated in some part from a vendor,

      19   eat it too, issue. So that parts master that has the            19   that meant the vendor actually published the organized

      20   same sort of things like we have on the blow up here,           20   collection. I gave them that example if I had a

      21   item part number, a short description, tracking and             21   personal address book, and I was going to put a phone

      22   inventory, that isn't the same thing as the catalogs            22   number in it that came from a phone book, my address

      23   you had in mind as the invention for these                      23   book if it has one entry from a published phone

      24   patents-in-suit, right? I don't think so. For me,               24   company's phone book, my address book has an entry in

      25   no, they aren't the same.                                       25   it that originated from the phone book, right,




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       1   Mr. Weaver? Correct.                                             1    Would the fact you could search that single CD-ROM for

       2         But in that case, even if it's my personal                 2    products of a certain color, would that mean the

       3   address book, I didn't publicly disseminate it. I                3    CD-ROM actually contains multiple catalogs depending

       4   kept it in my own house. Would you consider that to              4    on what word you searched with? His answer was: To

       5   be a published phone book? Answer: Well, that data               5    me, the catalog would indicate the company you were

       6   came from a published phone book, so, yes.                       6    buying the product from, he went on to explain.

       7         So Dr. Weaver said the address book is the                 7    Bottom line. So it would be a single catalog.

       8   same thing as a published phone book. It doesn't make            8             So even though you could do keyword searches

       9   any sense. But it doesn't end there.                             9    and look up all sorts of different words within that

      10         Can we go to the next slide, please. I went                10   catalog, it's still as you understood it for purposes

      11   on to talk to Dr. Weaver about how within the item               11   of your patent a single catalog, right? Yes.

      12   master -- he had to come up with a way to say this one           12            So here is Mr. Momyer applying a little

      13   database was actually multiple catalogs. So he had to            13   common sense by saying a catalog is a catalog. It's

      14   be a little creative there. What he came up with is              14   not a limitless number of catalogs. But he's one of

      15   this line of reasoning. So if you search for the word            15   the inventors here talking about a part of the patent,

      16   "blue," you get back results from the Lawson item                16   so that's really important here.

      17   master that would be the catalog of blue things                  17            I talked to Dr. Weaver a little more about

      18   because when you search "blue," you're searching for             18   the item master. I think ePlus and their expert knew

      19   the item master description, right? Answer: Yes.                 19   that this catalog issue was pretty important from day

      20         If I search for the number five, it would                  20   one in this case or certainly before trial. And that

      21   generate a list of all the things that had a number              21   the item master and whether it's catalogs is

      22   five in the description? It would.                               22   important. So it's pretty striking, I think, wasn't

      23         In your opinion each one of these is a                     23   it, when we had slide 15 from his presentation which

      24   separate catalog; is that right? Yes.                            24   is my slide No. 67? Do you remember he had these

      25         So is there really any limit to the number of              25   blocks that he stacked up. I talked to him, and he




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       1   catalogs in the Lawson item master the way you look at           1    said, Those system shown in those systems were a

       2   it? No.                                                          2    complete and comprehensive infringing system. It had

       3         The Lawson item master has a limitless number              3    everything that had to be infringing, including

       4   of catalogs according to Dr. Weaver. Mr. Hilliard,               4    multiple catalogs, right? Eleven of the 12 claims

       5   though, would say a parts master, which is just like             5    specifically say multiple catalogs or collection of

       6   an item master, has no catalogs at all. Having their             6    the catalogs, at least two catalogs. Some variation

       7   cake and eating it, too. That's what we have going               7    on it.

       8   on.                                                              8             So the item master is the catalogs. Dr.

       9         And that's even established on this last                   9    Weaver, where is the item master? Do you remember

      10   thing with Mr. Momyer's testimony. If we could go to             10   that pause? Do you remember he was starring at that

      11   slide No. 65. We talked to Mr. Momyer about this part            11   screen for a long time? This was his own slide he

      12   of their patents-in-suit.                                        12   did. But he starred at it for a long time there

      13         Go back to 65, please. Blow up the part                    13   because he knew it wasn't there. And that's really

      14   that's yellow. This is in the background section of              14   the story of their whole infringement case. It's just

      15   the patents. They acknowledge, Well, there are                   15   not there.

      16   computer systems out there capable of searching                  16            I want to show you one more thing about

      17   databases containing a product catalog of a particular           17   Dr. Weaver's analysis. This has to do with the

      18   vendor. For example, on CD-ROM.                                  18   selecting catalogs or portions of the database to

      19         But down here you see around line 10, Well,                19   search issue. That's not in all the claims here, but

      20   those are limited, though, in that only one such                 20   I think it's important to illustrate.

      21   vendor catalog. That's one such vendor catalog is                21            67A, if we could go to that. This is the

      22   accessible to a user at any given time.                          22   part of the patent that actually talks without

      23         So I asked Mr. Momyer about that since he's                23   selecting catalogs to search. You get a choice of

      24   one of the inventors of this thing. If we could go to            24   some catalogs. In the example here they have four.

      25   No. 66, please. I asked him about that section.                  25   It doesn't have to be these four, obviously, but this




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       1                  (Jury in.)                                                 1    least two attorneys here at all times so I can be reached by
       2                                                                             2    phone. I'm just right down here at the Hilton Garden Inn, so I
       3         THE COURT: The jury has decided that it would like                  3    can be here in four minutes.
       4   to return home for the evening and then return in the morning             4          THE COURT: Do you have to trade shoes or can you --
       5   and deliberate. What is your pleasure on the time to                      5          MR. ROBERTSON: I come equipped. I will be right
       6   deliberate? Do you want to start at 9:00, start at 9:30?                  6    over here pronto, but we'll have somebody here at all times.
       7         Nine o'clock we'll be here and have stuff ready for                 7          THE COURT: That's fine.
       8   you, and you be ready and you can have -- you can take whatever           8          MR. ROBERTSON: All right. Thank you.
       9   time you feel like you need to deliberate. If you leave your              9          THE COURT: Now, is he coming back? Mr. McDonald or
      10   notebooks the way you usually do, Mr. Neal will take came of              10   Ms. Stoll-DeBell?
      11   them. Thank you. Drive carefully.                                         11         MR. CARR: As far as I know, he's not coming back.
      12                                                                             12         THE COURT: Well, then, I know not to schedule any
      13                  (Jury out.)                                                13   arguments, I guess, until I'm certain. All right. I guess
      14                                                                             14   that solves it for now. Thank you very much. We'll be in
      15         THE COURT: Have all these transcripts and these                     15   adjournment.
      16   things -- you've got everything you need; right?                          16
      17         MR. STRAPP: Yes.                                                    17         (Court adjourned.)
      18         MR. CARR: I believe so.                                             18
      19         THE COURT: One thing I need for you all to do is to                 19
      20   see if there's anything that needs to be cleaned up that I need           20
      21   to decide. For example, they've got these motions that have               21
      22   been filed yesterday -- this morning or yesterday. I don't                22
      23   know what -- by Lawson.                                                   23
      24         I need a briefing schedule on them and see what I'm                 24
      25   supposed to do, and that means you all need to get moving and             25




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       1   decide how you want to proceed, little things like that so we
       2   can get that sorted out. I'd like to get all this done just as
       3   soon as I can.
       4         MR. ROBERTSON: I'll call Mr. McDonald tomorrow once
       5   he gets back to Minnesota. I understand he's gone back.
       6         THE COURT: He's what?
       7         MR. ROBERTSON: I'll call Mr. McDonald tomorrow in
       8   Minnesota. I know he's traveling --
       9         THE COURT: He's in Minnesota?
      10         MR. CARR: He is leaving this evening, yes.
      11         THE COURT: Are you fully empowered?
      12         MR. CARR: Yes, sir.
      13         MR. ROBERTSON: I'll just --
      14         THE COURT: Does he understand that the juries have a
      15   lot of questions sometimes?
      16         MR. CARR: He does.
      17         THE COURT: Okay.
      18         MR. ROBERTSON: I'll work out a briefing schedule,
      19   Your Honor, and we'll take care of it in short order. Maybe we
      20   can decide some of things have been mooted by some of Your
      21   Honor's rulings.
      22         THE COURT: They very well may have. I don't know
      23   the answer to that. Some of them may not, but I want to make
      24   sure we get it done.
      25         MR. ROBERTSON: Your Honor, I intend on having at




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